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                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                     JACKSONVILLE DIVISION

In re:
                                                                          Case No. 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,1                                               Chapter 11

      Debtors.                                                            (Jointly Administered)
____________________________________/

                            NOTICE OF AUCTION AND SALE HEARING

PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.      On June 15, 2018, Premier Exhibitions, Inc., a Florida corporation (“Premier”);
Arts and Exhibitions International, LLC, a Florida limited liability company (“A&E”); Dinosaurs
Unearthed Corp., a Delaware Corporation (“DU Corp.”); Premier Exhibitions International, LLC,
a Delaware limited liability company (“PEI”); Premier Exhibition Management LLC, a Florida
limited liability company (“PEM”); Premier Exhibitions NYC, Inc., a Nevada Corporation
(“Premier NYC”); Premier Merchandising, LLC, a Delaware limited liability company
(“Premier Merch”); and RMS Titanic, Inc., a Florida corporation (“RMST”), as debtors and
debtors-in-possession (collectively, the “Debtors”), filed a motion [ECF No. 1055] (the “Sale
Motion”) for entry of an order (the “Bidding Procedures Order”), among other things,
(a) approving the Bidding Procedures 2 for a sale of the Transferred Assets (as defined in the Asset
Purchase Agreement), on terms substantially similar to, and in no event less favorable to the
Debtors than, the terms set forth in the Asset Purchase Agreement and as set forth in the Bidding
Procedures; (b) selecting Premier Acquisition Holdings LLC as the stalking horse bidder in
connection with such sale (the “Stalking Horse Purchaser”); (c) approving the form and manner
of notices with respect to the auction for the Transferred Assets (the “Auction”) and the hearing
to consider the sale of the Transferred Assets to the Stalking Horse Purchaser or Prevailing Bidder
and rejection or assumption and assignment of related executory contracts and unexpired leases
(the “Sale Hearing”); (d) approving the form of Asset Purchase Agreement; (e) approving a
Break-Up Fee and Expense Reimbursement in favor of the Stalking Horse Purchaser;
(f) scheduling the Auction and Sale Hearing; (g) authorizing the sale of the Transferred Assets free


1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number
include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management, LLC (3101);
Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075); Premier Exhibitions
NYC, Inc. (9246); Premier Merchandising, LLC (3867), and Dinosaurs Unearthed Corp. (7309). The Debtors’ service
address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.
2
  Capitalized terms used and not otherwise defined herein shall have the meanings set forth in the motion to approve
the Bidding Procedures or the Asset Purchase Agreement dated as of June 14, 2018 by and among (i) Premier, (ii)
A&E, (iii) PEM, (iv) Premier NYC, (v) Premier Merch, (vi) PEI, (vii) DU Corp.; (vii) DinoKing Tech Inc. d/b/a
Dinosaurs Unearthed, a company formed under the laws of British Columbia, (ix) RMST, solely for purposes of
Article III, Article V, Article VII and Article VIII, and Premier Acquisition Holdings LLC, a Delaware limited liability
company (as amended, modified, or supplemented, the “Asset Purchase Agreement”), as applicable.



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and clear of all liens, claims, encumbrances and interests;3 and (g) granting related relief (the “Sale
Motion”).

        2.       On September 13, 2018, the United States Bankruptcy Court for the Middle District
of Florida (the “Bankruptcy Court”) entered the Bidding Procedures Order [ECF No. 1201].
Pursuant to the Bidding Procedures Order, the Auction, if any, for the Transferred Assets shall
take place on October 11, 2018, at 10:00 a.m. (prevailing Eastern Time) at the offices of
Troutman Sanders LLP, located at 600 Peachtree Street NE, Suite 3000, Atlanta, GA 30308. Only
parties that have submitted a Qualified Bid in accordance with the Bidding Procedures, attached
to the Bidding Procedures Order as Exhibit 1, by no later than October 5, 2018, at 4:00 p.m.
(prevailing Eastern Time) (the “Bid Deadline”) may participate at the Auction. Any party that
wishes to take part in this process and submit a bid for the Transferred Assets must submit their
competing bid before the Bid Deadline and in accordance with the Bidding Procedures. To
participate in the bidding process and to receive access to the then current and reasonably available
due diligence materials (the “Diligence Materials”), a party must submit an executed
confidentiality agreement in accordance with Section III.A.4. of the Bidding Procedures, along
with evidence satisfactory to the to the Debtors, demonstrating the party’s financial capability to
consummate a Competing Transaction: to (i) the Debtors’ retained financial advisor, GlassRatner
Advisory & Capital Group LLC, 3445 Peachtree Road, Suite 1225, Atlanta, GA 30326, attention:
Marshall Glade, Tel: (404) 835-8844, Fax: (678) 904-1991 (email: mglade@glassratner.com),
with a copy to (ii) the Official Committee of Unsecured Creditors’ (the “Creditors Committee”)
and the Official Committee of Equity Security Holders’ (the “Equity Committee,” and together
with the Creditors Committee, the “Committees”) retained financial advisors, Lincoln
International, 44 Madison Avenue, Suite 300, New York, NY 1022, attention: Brent C. Williams,
Tel: (212) 357-7750, Fax: (212) 277-8101 (email: BWilliams@lincolninternational.com).
Potential bidders are instructed to contact only the retained financial advisors to the Debtors
and not any other parties, including the Debtors or any Committee members. If no Qualified
Bid, other than the Qualified Bid submitted by the Stalking Horse Purchaser, is received by
the Bid Deadline, then the Auction will be canceled.

        3.     The Bankruptcy Court will conduct a hearing (the “Sale Hearing”) on October
18, 2018, at 10:00 a.m. (prevailing Eastern Time), before the Honorable Paul M. Glenn, United
States Bankruptcy Judge, United States Bankruptcy Court for the Middle District of Florida,
Jacksonville Division, Bryan Simpson United States Courthouse, 300 North Hogan Street,
Courtroom 4A, Jacksonville, Florida 32202, or at such later date and time as may be scheduled
by further Order of the Bankruptcy Court upon motion or application by the Debtors. The Sale
Hearing may be continued from time to time without further notice to creditors or parties in interest



3
  Except that to the extent that any artifacts owned by RMST are subject to the jurisdiction of the United States District
Court for the Eastern District of Virginia, in the civil action styled R.M.S. Titanic, Inv., Successor in Interest to Titanic
Ventures Limited Partnership v. The Wrecked and Abandoned Vessel, Etc., Case No. 2:93-cv-902 (the “Admiralty
Court”) and to the Revised Covenants and Conditions (the “Covenants and Conditions”) set forth in Exhibit A to
the August 12, 2010 Opinion of the Admiralty Court, such artifacts shall continue to be subject to the Covenants and
Conditions and to the jurisdiction of the Admiralty Court, including, but not limited to, any requirement in the
Covenants and Conditions that the Admiralty Court approve the sale of the Subject Titanic Artifact Collection (STAC)
sometimes referred to as the American Collection.

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other than by announcement of the continuance in open court on the date scheduled for the Sale
Hearing.

        4.      Objections, if any, to the Sale and/or the Assumption and Assignment of
Transferred Contracts to the Stalking Horse Purchaser, including Proposed Cure Amounts
contemplated by the Asset Purchase Agreement must: (a) be in writing; (b) comply with the
Bankruptcy Rules and the Local Rules of the United States Bankruptcy Court for the Middle
District of Florida; (c) be filed with the clerk of the United States Bankruptcy Court for the Middle
District of Florida, United States Bankruptcy Court for the Middle District of Florida, Jacksonville
Division, Bryan Simpson United States Courthouse, 300 North Hogan Street, Suite 3-150,
Jacksonville, Florida 32202, (or filed electronically via CM/ECF), by 4:00 p.m. (prevailing
Eastern Time) on October 5, 2018 (the “Sale Objection Deadline”); and (d) be served upon (i)
counsel to the Debtors, Troutman Sanders LLP, 600 Peachtree Street NE, Suite 3000, Atlanta, GA
30308, attention: Harris B. Winsberg (harris.winsberg@troutman.com) and Matthew R. Brooks
(matthew.brooks@troutman.com); (ii) counsel to the Creditors Committee, Storch Amini PC, 140
East 45th Street, 25th Floor, New York, NY 10017, attention: Jeffrey Chubak
(jchubak@storchamini.com); (iii) counsel to the Equity Committee, Landau Gottfried & Berger
LLP, 1801 Century Park East, Suite 700, Los Angeles, CA 90067, attention: Peter J. Gurfein
(pgurfein@LGBFirm.com); (iv) counsel to the Stalking Horse Purchaser, Greenberg Traurig, P.A.,
401 East Las Olas Blvd., Suite 2000, Fort Lauderdale, FL 33301, attention: Scott M. Grossman
(grossmansm@gtlaw.com) and Bracewell LLP, 1251 Avenue of the Americas, 49th Floor, New
York NY 10020-1100, attention Jennifer Feldsher (jennifer.feldsher@bracewell.com); and (v) the
Office of the United States Trustee, U.S. Department of Justice, George C. Young Federal
Building, 400 West Washington Street, Suite 1100, Orlando, FL 32801, attention Miriam G.
Suarez (Miriam.G.Suarez@usdoj.gov), in each case, so as to be actually received no later than
4:00 p.m. (prevailing Eastern Time) on October 5, 2018. Notwithstanding the foregoing, any
objection to the conduct of the Auction (including the Debtors’ determination of the Prevailing
Bidder) may be raised for the first time at the Sale Hearing. Any other Sale Objections not filed
and served before the Sale Objection Deadline will be waived. Responses to Sale Objections
shall be filed and served by not later than 4:00 p.m. one day before the Sale Hearing.

        5.       This Notice and the Sale Hearing are subject to the fuller terms and conditions of
the Sale Motion, the Asset Purchase Agreement, the Bidding Procedures Order and the Bidding
Procedures, which shall control in the event of any conflict. Accordingly, the Debtors encourage
parties in interest to review these documents in their entirety.

        6.      Copies of the Sale Motion, the Asset Purchase Agreement (including exhibits
thereto), the Bidding Procedures, and the Bidding Procedures Order, may be obtained by request
in writing, by telephone, or via email from counsel to the Debtors, Troutman Sanders LLP, 600
Peachtree Street NE, Suite 3000, Atlanta, GA 30308, attention: Harris B. Winsberg
(harris.winsberg@troutman.com), Telephone: 404.885.3348 and Matthew R. Brooks
(matthew.brooks@troutman.com), Telephone: 404.885.2618. In addition, copies of the
aforementioned will be available for review on the website maintained by the Committees,
http://www.jndla.com/cases/premiercommittee, and may be found on the PACER website,
http://ecf.flmb.uscourts.gov.



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         Dated: September 18, 2018
                                                 NELSON MULLINS RILEY
                                                 & SCARBOROUGH LLP

                                                 By ______/s/ Daniel F. Blanks
                                                 Daniel F. Blanks (FL Bar No. 88957)
                                                 Lee D. Wedekind, III (FL Bar No. 670588)
                                                 50 N. Laura Street, Suite 4100
                                                 Jacksonville, FL 32202
                                                 (904) 665-3656 (direct)
                                                 (904) 665-3699 (fax)
                                                 daniel.blanks@nelsonmullins.com
                                                 lee.wedekind@nelsonmullins.com

                                                 and

                                                 TROUTMAN SANDERS LLP
                                                 Harris B. Winsberg (GA Bar No. 117751)
                                                 (Fla. Bar No. 0127190)
                                                 Matthew R. Brooks (GA Bar No. 378018)
                                                 600 Peachtree Street NE, Suite 3000
                                                 Atlanta, GA 30308
                                                 (404) 885-3000 (phone)
                                                 (404) 962-6990 (fax)
                                                 harris.winsberg@troutmansanders.com
                                                 matthew.brooks@troutmansanders.com

                                                 Counsel for the Debtors and Debtors in
                                                 Possession




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                                                                                                                                                                 SALE NOTICE - SERVICE LIST

First Name              Last Name             Company Name                                                                   Business Address Street Line 1                                      Business Address Street Line 2   Business Address Street Line 3      Business City    Business State   Business Zip Code             Business Country



Miriam G                Suarez                Office of the United States Trustee                                            George C. Young Federal Building                                    400 West Washington Street       Suite 1100                          Orlando          FL               32801-2210



Susan R                 Sherrill-Beard        U. S. Securities & Exchange Commission                                         950 East Paces Ferry Road, N.E.                                     Suite 900                                                            Atlanta          GA               30326-1382



                                              Internal Revenue Service                                                       P.O. Box 7346                                                                                                                            Philadelphia     PA               19101-7346
                                              Florida Department of Revenue                                                  Bankruptcy unit                                                     P.O. Box 6668                                                        Tallahassee      FL               32314-6668
                                              Orange County Tax Collector                                                    P.O. Box 545100                                                                                                                          Orlando          FL               32854
                                              Georgia Department of Revenue                                                  Compliance Division                                                 ARCS - Bankruptcy                1800 Century Blvd NE, Suite 9100    Atlanta          GA               30345-3202
Dr. Arthur E.           Ferdinand             Fulton County Tax Commissioner                                                 141 Pryor Street, SW                                                                                                                     Atlanta          GA               30303
                                              City of Atlanta                                                                Department of Finance                                               Office of Revenue                55 Trinity Avenue, SW, Suite 1350   Atlanta          GA               30303
                                              Nevada Department of Taxation                                                  Grant Sawyer Office Building                                        555 E. Washington Ave            Suite 1300                          Las Vegas        NV               89101
                                              Clark County Treasurer                                                         500 S Grand Central Pkwy                                            1st Floor                                                            Las Vegas        NV               89155
The Honourable Diane    Lebouthillier, M.P.   Office of the Minister of National Revenue                                     Minister of National Revenue                                        7th Floor                        555 MacKenzie Avenue                Ottowa           ON               K1A 0L5             Canada
Bob                     Hamilton              Office of the Commissioner / Canada Revenue Agency                             Commissioner of Revenue                                             8th Floor                        556 MacKenzie Avenue                Ottowa           ON               K1A 0L6             Canada
The Honourable Carole   James                 Ministry of Finance                                                            P.O. Box 9048                                                       Stn Prov Govt                                                        Victoria         BC               V8W 9E2             Canada



                                              Georgia Department of Natural Resources                                        Environmental Protection Division                                   2 Martin Luther King, Jr. Dr.    Suite 1456, East Tower              Atlanta          GA               30334
                                              Florida Department of Environmental Protection                                 Main                                                                3900 Commonwealth Boulevard                                          Tallahassee      FL               32399-3000
                                              Florida Department of Environmental Protection                                 Central District                                                    3319 Maguire Boulevard                                               Orlando          FL               32803
                                              Nevada Division of Environmental Protection                                                                                                        2030 E. Flamingo Road            Suite 230                           Las Vegas        NV               89119
                                              Environment and Climate Change Canada                                          Fontaine Building                                                   12th Floor                       200 Sacre-Coeur Blvd                Gatineau         QC               K1A 0H3             Canada
                                              Ministry of Evironment & Climate Change (BC)                                   P.O. Box 9360                                                       Stn Prov Govt                                                        Victoria         BC               V8W 9M2             Canada

                                              U.S. Attorney's Office                                                         300 N. Hogan Street                                                 Suite 700                                                            Jacksonville     FL               32202-4270

Matthew J.              Troy                  U.S. Department of Commerce, National Oceanic and Atmospheric Administration   P.O. Box 875                                                        Ben Franklin Station                                                 Washington       DC               20044-0875



Yann                    Aguila                                                                                               53 Quai d’Orsay                                                                                                                          Paris                             75007               France
                                              Bay Point Capital Partners, LP                                                 3050 Peachtree Road, N.W.                                           Suite 2                                                              Atlanta          GA               30062
Stephen C.              Riggs                 Carr, Riggs & Ingram, LLC                                                      500 Grand Boulevard                                                 Suite 210                                                            Mirimar Beach    FL               32550-1410
Chris                   Clayton               Carr, Riggs & Ingram, LLC                                                      5909 Peachtree Dunwoody Rd.                                         Suite 800                                                            Atlanta          GA               30328-8103
                                              Lincoln Partners Advisors LLC                                                  444 Madison Avenue                                                  Suite 300                                                            New York         NY               10022-6980
                                              MNP LLP                                                                        330 5th Avenue SW                                                   #2000                                                                Calgary                           AB T2P OL4
                                              McGuire Woods LLP                                                              c/o Robert W. McFarland                                             101 West Main Street             Suite 9000                          Norfolk          VA               23510-1655
T. David                Mitchell                                                                                             30050 Chagrin Boulevard                                             Suite 100                                                            Pepper Pike      OH               44124-5704
                                              LL.M Ville Peltokorpi                                                          Lutherinkatu 8 c 46                                                 00100                                                                Helsinki                                              Finland
                                              Averty Samet Storch Amini & Munves PC                                          140 East 45th Street                                                25th Floor                                                           New York         NY               10017-7141
Howard                  Siegel                                                                                               945 McKinney Street                                                 PMB 434                                                              Houston          TX               77002-6308
                                              Syzygy 3 Inc.                                                                  231 West 29th Street                                                Suite 606                                                            New York         NY               10001-5493
                                              Teneo Securities LLC                                                           c/o Brent C. Williams                                               601 Lexington Avenue             45th Floor                          New York         NY               10022-4685
Richard R               Thames                Stutsman Thames and Markey                                                     50 N Laura St                                                       Suite 1600                                                           Jacksonville     FL               32202-3614
                                              Wells Fargo Vendor Financial Services, LLC                                     Attn: Christine R Etheridge                                         1738 Bass Road                                                       Macon            GA               31210-1043
                                              20th Century Fox                                                               Fox Entertainment Group                                             2121 Avenue of the Stars                                             Los Angeles      CA               90067-5029
                                              417 5th Ave Real Estate, LLC                                                   Sebastian Capital, Inc.                                             417 Fifth Avenue                                                     New York         NY               10016-2204
                                              417 Fifth Avenue Real Estate, LLC                                              c/o Jason Burnett, Esq.                                             GrayRobinson, PA                 50 North Laura St., Ste 1100        Jacksonville     FL               32202-3611
                                              87AM Holdings LLC                                                              42 West 39th Street                                                 4th Floor                                                            New York         NY               10018-3841
                                              A-1 Storage and Crane                                                          2482 197th Avenue                                                                                                                        Manchester       IA               52057-8578
                                              A-1 Storage and Crane Service, Inc.                                            2482 197th Avenue                                                                                                                        Manchester       IA               52057-8578
                                              A-NYC Display and Graphics                                                     353 W. 48th Street, Suite 417                                                                                                            New York         NY               10036-1324
                                              A.N. Deringer, Inc.                                                            PO Box 11349                                                        Succursale Centre-Ville                                              Montreal                          QC H3C 5H1          Canada
                                              ABC Imaging                                                                    14 E. 38th Street                                                                                                                        New York         NY               10016-0005
                                              ACK Investments, LLCo                                                          c/o Thomas J. Kraus                                                 1512 Woodridge Place                                                 Birmingham       AL               35216-1656
                                              AR Resource Inc.                                                               PO Box 1056                                                                                                                              Blue Bell        PA               19422-0287
                                              AT&T                                                                           PO Box 105262                                                                                                                            Atlanta          GA               30348-5262
                                              ATS, Inc.                                                                      1900 W. Anaheim Street                                                                                                                   Long Beach       CA               90813-1106
                                              Adcom Worldwide                                                                4050 W Sunset Road                                                  Suite B                                                              Las Vegas        NV               89118-6801
                                              Adrenaline Media, Inc.                                                         12480 Westfield Lakes Circle                                                                                                             Winter Garden    FL               34787-5271
                                              Adrenaline Media, Inc.                                                         329 Franklin Street                                                                                                                      Ocoee            FL               34761-2661
                                              Air Stream Air Conditioning                                                    245 Newtown Road                                                    Suite 305                                                            Plainview        NY               11803-4300
                                              Allstate Fire Equipment                                                        15 Robert Jackson Way                                                                                                                    Plainville       CT               06062-2650
                                              Andornot Consulting, Inc.                                                      808 Nelson Street                                                                                                                        Vancouver                         BC V6Z 2H2          Canada
                                              Angelpix                                                                       2113 Defoors Ferry Road NW                                          Suite B8                                                             Atlanta          GA               30318-2333
                                              Antonio Abrantes Da Silva                                                      6362 Curtis Street                                                                                                                       Burnaby                           BC V5B 2A5          Canada
                                              Arnall Golden Gregory LLP                                                      171 17th Street NW                                                  Suite 2100                                                           Atlanta          GA               30363-1031
                                              Artcraft Display Graphics                                                      1533 Broadway Street                                                Suite 112                                                            Port Coquitlam                    BC V3C 6P3          Canada
                                              Assiniboine Park Zoo                                                           2595 Roblin Blvd.                                                                                                                        Winnipeg                          MB R3P 2N7          Canada
                                              Assoc. of Zoos & Aquariums                                                     8403 Colesville Road                                                Suite 710                                                            Silver Spring    MD               20910-3397
                                              Attorney General of the U.S.                                                   U.S. Dept. of Justice                                               950 Pennsylvania Avenue, NW                                          Washington       DC               20530-0009
                                              Attraction Concepts LTD                                                        9067 International Drive                                                                                                                 Orlando          FL               32819-9316
                                              B.E. Capital Management                                                        c/o Thomas Branziel                                                 228 Park Ave. S No. 63787                                            New York         NY               10003-1502
                                              BC Hydro                                                                       333 Dunsmuir Street                                                                                                                      Vancouver                         BC V6B 5R3          Canada
                                              BDO                                                                            1100 Peachtree Street NE                                            Suite 700                                                            Atlanta          GA               30309-4516
                                              BML Productions, Inc.                                                          d/b/a Generi                                                        1 Aquarium Drive                                                     Secaucus         NJ               07094-1917
                                              Bank of America, N.A.                                                          c/o Andew T. Jenkins, Esq.                                           Bush Ross, P.A.                 1801 North Highland Ave.            Tampa            FL               33602-2656
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Rod              Bartlett                                                         1364 E. Keith road                                                                                                                 N. Vancouver           BC V7J 1J2    Canada
                                   Bay Point Capital Partners, LP                 c/o Thompson Hine LLP                                         Two Alliance Center, Suite 1600    3560 Lenox Road                   Atlanta           GA   30326-4274
                                   Best Buy                                       Division of Best Buy Canada                                   8800 Glenlyon Parkway                                                Burnaby                BC V5J 5K3    Canada
                                   Bestlink Transport Services                    8335 Meadow Avenue                                                                                                                 Burnaby                BC V3N 2W1    Canada
                                   Broadway Video                                 30 Rockefeller Plaza                                          54th Floor                                                           New York          NY   10112-5402
                                   Broadway Welding Shop                          1529 Venables Street                                                                                                               Vancouver              BC V5L 2G8    Canada
                                   Brookbridge Consulting                         Service                                                       43 Warren Street                                                     New York          NY   10007-1016
                                   CBS Outdoor/Outfront Media                     185 US Highway 46                                                                                                                  Fairfield         NJ   07004-2321
                                   CBS Radio NY                                   1271 Ave of the Americas                                                                                                           New York          NY   10020-1401
                                   CIT Finance LLC                                c/o Weltman, Weinberg, & Reis Co.,L.P.A.                      3705 Marlane Drive                                                   Grove City        OH   43123-8895
                                   CITI Cards Canada, Inc.                        P.O. Box 8601                                                 Station Centre-Ville                                                 Montreal               QC H3C 3V2    Canada
                                   COFO Concertburo Oliver                        Forster Gmbh & Co. KG                                         Dr.-Emil-Brichta-Str. 9                                              Passau                 MBC D-94036   Germany
                                   CRG Financial LLC                              100 Union Avenue                                                                                                                   Cresskill         NJ   07626-2141
                                   CRI Properties                                 440 Gentry Drive                                                                                                                   Aurora            OH   44202-7537
                                   CRI Properties, Ltd                            T. David Mitchell                                             30050 Chagrin Blvd, Suite 100                                        Pepper Pike       OH   44124-5704
                                   CTM Media Group, Inc.                          11 Largo Drive South                                                                                                               Stamford          CT   06907-2337
                                   Canada’s Wonderland                            9580 Jane Street                                                                                                                   Vaughan           ON   L6A 1S6
                                   Canon Canada Inc.                              Business Solutions Division                                   6390 Dixie Road                                                      Mississauga            ON L5T 1P7    Canada
                                   Canstore Rentals Ltd.                          11660 Mitchell Road                                                                                                                Richmond               BC V6V 1T7    Canada
                                   Carowinds                                      14523 Carowinds Blvd.                                                                                                              Charlotte         NC   28273-6756
                                   Cedar Point                                    One Cedar Point Drive                                                                                                              Sandusky          OH   44870-5259
                                   Century Link                                   PO Box 2961                                                                                                                        Phoenix           AZ   85062-2961
                                   Cherry Bekaert LLP                             1075 Peachtree Street NE                                      Suite 200                                                            Atlanta           GA   30309-3912
Christine R.     Etheridge, Esq.   Wells Fargo Vendor Financial Services          Bankruptcy Administration                                     P.O. Box 13708                                                       Macon             GA   31208-3708
                                   City Guide                                     489 Seventh Avenue                                            10th Floor                                                           New York          NY   10018
                                   City Guide                                     498 7th Avenue                                                                                                                     New York          NY   10018-6798
                                   City Guide Magazine                            498 7th Avenue, 10th Floor                                                                                                         New York          NY   10018-6957
                                   City of Buena Park                             c/o Finance Dept.                                             6650 Beach Blvd.                   P.O. Box 5009                     Buena Park        CA   90622-5009
Claude Zachary   Jacobs                                                           5607 Sequoia Drive                                                                                                                 Forest Park       CA   30297-4082
                                   Coca-Cola Enterprises                          P.O. Box 1734                                                                                                                      Atlanta           GA   30301-1734
                                   Cole International Inc.                        3033 34 Avenue NE                                                                                                                  Calgary                AB T1Y 6X2    Canada
Ned              Collett                                                          2811 Twisted Willow Ct                                                                                                             Katy              TX   77450-6317
                                   Corporate Traveller Magazine                   1 Dundas Street West                                                                                                               Toronto                ON M5G 1Z1    Canada
                                   Cortina Productions                            1651 Old Meadow Road                                          Suite 400                                                            Mc Lean           VA   22102-4308
                                   Cross Media                                    22 W. 23rd Street                                             5th Floor                                                            New York          NY   10010-5240
                                   Crystal Pure Water Co., Inc.                   6690 Woodvale Crescent                                                                                                             Burnaby                BC V5B 2R6    Canada
                                   Dallian Hoffen Biotechonique Co., Ltd          c/o Ezra B. Jones                                             305 Crosstree Lane                                                   Atlanta           GA   30328-1813
                                   Davler Media Group                             498 7th Avenue, 10th Floor                                                                                                         New York          NY   10018-6957
                                   Delta Pallet Inc.                              7438 Hume Avenue                                                                                                                   Delta                  BC V4G 1C5    Canada
                                   Dentons Canada LLP                             250 Howe Street                                               20th Floor                                                           Vancouver              BC V6C 3R8    Canada
                                   Dentons Canada LLP                             77 King Street West                                           Suite 400                                                            Toronto                ON M5K 0A1    Canada
                                   Deringer                                       64 North Main Street                                                                                                               Saint Albans      VT   05478-1682
                                   Design Electronics                             1614 1st Avenue NE                                                                                                                 Little Falls      MN   56345-3306
                                   Design Electronics                             4956 Oakwood Drive                                                                                                                 Niagra Falls      ON   L2E 6S5       Canada
                                   Diamond International Travel                   888 Odlin Crescent                                                                                                                 Richmond               BC V6X 3Z8    Canada
                                   Direct Media, Inc.                             72 Sharp Street                                               Unit C-12                                                            Hingham           MA   02043-4328
                                   Discovery Science Center                       of Orange County                                              2500 N. Main Street                                                  Santa Ana         CA   92705-6600
                                   Dorney Park                                    3830 Dorney Park Road                                                                                                              Allentown         PA   18104-5899
                                   Dot Dash 3, Inc.                               714 Broadway, 9th Floor                                                                                                            New York          NY   10003-9538
                                   Double Dare Design                             1145 East 29th Street                                         Suite 101                                                            N. Vancouver           BC V7K 1C3    Canada
                                   Dunbar Armored Inc.                            50 Schilling Road                                                                                                                  Hunt Valley       MD   21031-1424
                                   EMS Exhibits Orlando LLC                       7220 International Drive                                                                                                           Orlando           FL   32819-8226
                                   EOS Lightmedia Corp.                           310-825 Powell Street                                                                                                              Vancouver              BC V6A 1H7    Canada
                                   Enhanced Recovery Company                      PO Box 57547                                                                                                                       Jacksonville      FL   32241-7547
Don              Enright                                                          1260 Bidwell Street                                           Apt. 801                                                             Vancouver              BC V6G 2L2    Canada
                                   Enterprise Rent-A-Car Canada                   709 Miner Avenue                                                                                                                   Scarborough            ON M1B 6B6    Canada
                                   Enterprise Rent-A-Car USA                      P.O. Box 402383                                                                                                                    Atlanta           GA   30384-2383
                                   Euclid Claims Recovery LLC                     945 McKinney Street, PMB 434                                                                                                       Houston           TX   77002-6308
                                   Expedia, Inc.                                  10190 Covington Cross Drive                                                                                                        Las Vegas         NV   89144-7054
                                   Expedia, Inc.                                  108th Avenue NE                                                                                                                    Bellevue          WA   98004
                                   FPIS, Inc.                                     220 Story Road                                                                                                                     Ocoee             FL   34761-3096
                                   FX Squared SoundDesign Inc.                    16806 84th Avenue                                                                                                                  Surrey                 BC V4N 4V3    Canada
                                   Fair Harbor Capital, LLC                       Ansonia Finance Station                                       PO Box 237037                                                        New York          NY   10023-0028
                                   Fasken Martineau Dumoulin LL                   2900-550 Burrard Street                                                                                                            Vancouver              BC V6C 0A3    Canada
                                   FedEx Freight                                  c/o T23222                                                    P.O. Box 4232                      Postal Station A                  Toronto                ON M5W 5P4    Canada
Lange            Feng                                                             15953 107th Avenue                                                                                                                 Surrey                 BC V4N 5N7    Canada
                                   Florida Dept. of Revenue                       5050 W. Tennessee Street                                                                                                           Tallahassee       FL   32399-0100
                                   Florida Dept. of Revenue                       Bankruptcy Unit                                               P.O. Box 6668                                                        Tallahassee       FL   32314-6668
                                   Florida Dept. of State                         2661 Executive Center Drive                                                                                                        Tallahassee       FL   32301-5020
                                   Fox Ice Age Release                            PO Box 900                                                                                                                         Beverly Hills     CA   90213-0900
                                   Freedom Communications, Inc.                   625 N. Grand Avenue                                                                                                                Santa Ana         CA   92701-4347
                                   Gensler                                        1230 Ave. of the Americas                                                                                                          New York          NY   10020-1513
                                   George F. Eyde LLC                             300 S. Washington Square                                      Suite 400                                                            Lansing           MI   48933-2102
                                   George F. Eyde Orlando, LLC                    c/o Jay B. Verona, Esq.                                       101 E. Kennedy Blvd., Suite 2800                                     Tampa             FL   33602-5150
                                   George Young Company                           509 Heron Drive                                                                                                                    Swedesboro        NJ   08085-1713
                                   Georgia Department of revenue                  Compliance Division                                           ARCS Bankruptcy                    1800 Century Blvd NE Suite 9100   Atlanta           GA   30345-3202
                                   Gowling Lafleuer Henderson                     550-2300 Burrard Street                                                                                                            Vancouver              BC V6C 2B5    Canada
                                   Gowlings                                       550 Burrard Street                                            Suite 2300, Bental 5                                                 Vancouver              BC V6C 2B5    Canada
                                   Grandfair Travel Ltd.                          1123-8328 Capstan Way                                                                                                              Richmond               BC V6X 4B6    Canada
                                   HGL, Inc.                                      No. 35 East Langhua str.                                      Shakekou District, 110623                                            Dalian                               China
Haiping          Zou                                                              Unit 110-115                                                  Wanke Qingqing Homeland            Dougezhuang, Chaoyang Dist.       Beijing                100021        China
Haiping          Zou               c/o Scott M. Grossman, Esq.                    Greenberg Traurig, P.A.                                       401 E. Las Olas Blvd., Ste. 2000                                     Fort Lauderdale   FL   33301-4223
                                   Harter, Secrest & Emergy LLP                   1600 Bausch & Lomb Place                                      16th Floor                                                           Rochester         NY   14604-2711
                                                                                                                              Case 3:16-bk-02230-PMG                               Doc 1204   Filed 09/19/18            Page 7 of 16

                                                 Harter, Secrest & Emery LLP                                                         733 3rd Avenue                                                   16th Floor                                                                      New York          NY              10017-3231
                                                 High Nature Holdings Limited                                                        c/o Scott M. Grossman, Esq.                                      Greenberg Traurig, P.A.                   401 East Las Olas Blvd., Suite 2000                     Fort Lauderdale FL                   33301-4223
                                                 High Nature Holdings Limited                                                        15953 107th Avenue                                                                                                                               Surrey                            BC V4N 5N7           Canada
                                                 Higi SH LLC                                                                         150 North Wacker Drive                                           Suite 1120                                                                      Chicago           IL              60606-1602
                                                 Historical Indexes Publishing                                                       c/o Lee W. Merideth                                              1055 E. Flamingo Street                   Suite 821                             Las Vegas         NV              89119-7446
                                                 Hoffen Global Ltd.                                                                  305 Crosstree Lane                                                                                                                               Atlanta           GA              30328-1813
                                                 Home Depot Credit Services                                                          P.O. Box 4609                                                    Station A                                                                       Toronto                           ON M5W 4Z5           Canada
                                                 IESI – NY-Corporation                                                               PO Box 660654                                                                                                                                    Dallas            GA              75266-0654
                                                 Internal Revenue Service                                                            Centralized Insolvency Area                                      600 Arch Street                                                                 Philadelphia      PA              19106-1611
Ian           Jacobs                                                                                                                 5015 Underwood Avenue                                                                                                                            Omaha             NE              68132-2235
                                                 Image Quest Worldwide, Inc.                                                         Scott W. Cichon, Esq.                                            Cobb Cole                                 P.O. Box 2491                         Daytona Beach     FL              32115-2491
                                                 Industrial Plastics & Paints                                                        150-12571 Bridgeport Road                                                                                                                        Richmond                          BC V6V 1J4           Canada
                                                 Infinity Filmed Entertainment                                                       5589 Byrne Road                                                  Unit 217                                                                        Burnaby                           BC V5J 3J1           Canada
                                                 Infology Corporation                                                                2511 Brookhurst Road                                                                                                                             Mississauga                       ON L5J 1R5           Canada
                                                 InnerWorkings, Inc.                                                                 600 W. Chicago Avenue                                                                                                                            Philadelphia      PA              19106-1611
                                                 Internal Revenue Service                                                            Centralized Insolvency Operations                                600 Arch Street                                                                 Chicago           IL              60654-2529
                                                 International Museum of Art                                                         and Science                                                      1900 W. Nolana Avenue                                                           McAllen           TX              78504-4121
                                                 JVS Group                                                                           Prague Gate House                                                Turkova 5b                                                                      Prague                            149 00, Praha 4 - Chodov
                                                                                                                                                                                                                                                                                                                                             Czech Republic
James         Beckmann                           c/o Scott W. Cichon, Esq.                                                           Cobb Cole                                                        P.O. Box 2491                                                                   Daytona Beach     FL              32115-2491
Jihe          Zhang                                                                                                                  59 Dongsanhuan Middle Road                                       Fuli Shuangzi Towers, Bd. A, Suite 2606   Chaoyang Dist.                        Beijing                           100021               China
Jihe          Zhang                              c/o Scott M. Grossman, Esq.                                                         Greenberg Traurig, P.A.                                          401 E. Las Olas Blvd., Ste. 2000                                                Fort Lauderdale   FL              33301-4223
Jonathan B.   Ross, Esq.                         Gowling WLG (Canada) LLP                                                            550 Burrard Street                                               Suite 2300, Bentall 5                                                           Vancouver                         BC V6C 2B5           Canada
Jonathan      Heller                                                                                                                 536 Sterling Street                                                                                                                              Newton            PA              18904-1825
                                                 Kaleo Legal                                                                         4456 Corporation Lane                                            Suite 135                                                                       Virginia Beach    VA              23462-3151
                                                 Ken’s Crane Service                                                                 1350 Wall Street                                                                                                                                 Winnipeg                          MB R3E 2S3           Canada
                                                 Kenney Communications, Inc.                                                         1215 Spruce Avenue                                                                                                                               Orlando           FL              32824-7935
                                                 Kings Dominion                                                                      160 Theme Park Way                                                                                                                               Doswell           VA              23047
                                                 Kings Island                                                                        P.O. Box 901                                                                                                                                     Kings Island      OH              45034-0901
                                                 Kirvin Doak Communication                                                           c/o Beverly Salhanick, Esq.                                      2001 S. Jones Blvd., Suite 1                                                    Las Vegas         NV              89146-3182
                                                 Kirvin Doak Communications                                                          5230 W Patrick Lane                                                                                                                              Las Vegas         NV              89118-2851
Lange         Feng                                                                                                                   15953 107th Avenue                                                                                                                               Surrey                            BC V4N 5N7           Canada
Lange         Feng                               c/o Greenberg Traurig, P.A.                                                         ATTN: Scott M. Grossman, Esq.                                    401 E. Las Olas Blvd., Suite. 2000                                              Fort Lauderdale   FL              33301-4223
                                                 Las Vegas Magazine                                                                  2275 Corporate Circle                                            Suite 300                                                                       Henderson         NV              89074-7745
                                                 Las Vegas Magazine & Showbiz                                                        2360 Corporate Circle                                            3rd Floor                                                                       Henderson         NV              89074-7723
                                                 Lawndale Capital Management, LLC                                                    c/o Andrew Shapiro                                               591 Redwood Highway 2345                                                        Mill Valley       CA              94941-6004
                                                 Liberty Science Center, Inc.                                                        222 Jersey City Blvd.                                                                                                                            Jersey City       NJ              07305-4636
                                                 Louis J. Eyde Orlando, LLC                                                          c/o Jay B. Verona, Esq.                                          101 E. Kennedy Blvd., Suite 2800                                                Tampa             FL              33602-5150
                                                 Louis J. Eyde, LLC                                                                  300 S. Washington Square                                         Suite 400                                                                       Lansing           MI              48933-2102
                                                 MDJ & Associates                                                                    745 E. Division                                                                                                                                  Lombard           IL              60148-2970
                                                 MNP LLP                                                                             15303 - 31st Avenue                                              Suite 301                                                                       Surrey                            BC V3Z 6X2           Canada
                                                 MNP LLP                                                                             2000, 330 5th Avenue SW                                                                                                                          Calgary                           AB T2P 0L4           Canada
                                                 Mayborn Museum                                                                      1300 S. University Parks Dr.                                                                                                                     Waco              TX              76706-1716
                                                 McCollister’s                                                                       P.O. Box 37794                                                                                                                                   Baltimore         MD              21297-3794
                                                 McDowell Brothers Industries                                                        2018 Kingsway                                                                                                                                    Sudbury                           ON P3B 4J8           Canada
                                                 McGuireWoods LLP                                                                    800 E. Canal Street                                                                                                                              Richmond          VA              23219-3956
                                                 McMillan LLP                                                                        1055 W. Georgia Street                                           PO Box 11117                                                                    Vancouver                         BC V6E 4N7           Canada
Michael J.    Little                             c/o J. Ellsworth Summers, Jr., Esq.                                                 Burr & Forman LLP                                                50 North Laura Street, Suite 3000                                               Jacksonville      FL              32202-3658
                                                 Microsoft Corporation                                                               One Microsoft Way                                                                                                                                Redmond           WA              98052-8300
                                                 Microsoft Corporation and Microsoft Licensing                                       c/o Maria A. Milano                                              Riddell Williams P.S.                     1001 4th Ave. Suite 4500              Seattle           WA              98154-1065
                                                 Minister of Finance                                                                 1802 Douglas Street                                                                                                                              Victoria                          BC V8T 4K6           Canada
                                                 Ministry for Equipment,                                                             Transportation and Tourism                                       88-90 Avenue de la Periere                                                      B.P. 2143         Lorient         56321                France
                                                 MondoMostre s.r.l                                                                   Via Francesco Denza, 27                                                                                                                          Rome                              00197                Italy
                                                 MondoMostre s.r.l.                                                                  Via del Baullari, 4                                                                                                                              Rome                              186                  Italy
                                                 Morris Visitor Publications                                                         643 Broad St.                                                                                                                                    Augusta           GA              30901-1463
                                                 Morris Visitor Publications                                                         725 Broad Street                                                                                                                                 Augusta           GA              30901-1336
                                                 Morris Visitor Publications                                                         PO Box 1584                                                                                                                                      Augusta           GA              30903-1584
                                                 Motor and Gear                                                                      3545 McCall Place                                                Suite B                                                                         Doraville         GA              30340-2800
                                                 Multi Versions                                                                      1001 Lenoir                                                      Suite A-412                                                                     Montreal                          QC H4C 2Z6           Canada
                                                 Murray Hill Properties, LLC                                                         277 Park Avenue                                                  21st Floor                                                                      New York          NY              10172-3005
                                                 NASDAQ Stock Market LLC                                                             805 King Farm Blvd.                                                                                                                              Rockville         MD              20850-6162
                                                 NY-Dept. of Taxation and Finance                                                    Attn: Office of Counsel                                          W.A. Harriman Campus Bldg. 9                                                    Albany            NY              12227-0001
                                                 NY-Dept. of Taxation and Finance                                                    PO Box 4127                                                                                                                                      Binghamton        NY              13902-4127
                                                 NYC & Company                                                                       810 Seventh Avenue                                               3rd Floor                                                                       New York          NY              10019-5896
                                                 NYC Dept. of Finance                                                                PO Box 3646                                                                                                                                      New York          NY              10008-3646
                                                 National Design LLC                                                                 12121 Scripps Summit Drive                                                                                                                       San Diego         CA              92131-4608
                                                 National Geographic Society                                                         1145 - 17th Avenue NW                                                                                                                            Washington        DC              20036-4707
                                                 National Mississippi River                                                          Museum & Aquarium                                                350 East 3rd Street                                                             Dubuque           IA              52001-2302
                                                 National Oceanic and Atmosphere                                                     1305 East-West Highway                                           SSMC4, Suite 6111                                                               Silver Spring     MD              20910
Eric S.       Manne, Authorized Representative   National Union Fire Insurance Company of Pit                                        175 Water Street                                                 15th Floor                                                                      New York          NY              10038
                                                 Natural Science Center                                                              & Animal Discovery                                               4301 Lawndale Drive                                                             Greensboro        NC              2744-1816
Ned           Collett                                                                                                                2811 Twisted Willow Court                                                                                                                        Katy              TX              77450-6317
                                                 Nelson Mullins                                                                      50 N. Laura Street                                               Suite 4100                                                                      Jacksonville      FL
                                                 Netgenetix.com Media, Inc.                                                          265 1st Avenue                                                                                                                                   Vancouver                         BC V5T 1A7           Canada
                                                 New York Dept. of Finance                                                           P.O. Box 3931                                                                                                                                    New York          NY              10008-3931
                                                 New York State Department of Taxation and Finance                                   c/o Norman Fivel, Esq.                                           NYS Attorney General’s Office             The Capitol                           Albany            NY              12224-0341
                                                 New York State Dept. of Taxation and Finance                                        Bankruptcy Section                                               PO Box 5300                                                                     Albany            NY              12205-0300
                                                 OCTS                                                                                7022-51 Avenue                                                                                                                                   Edmonton          Alberta         T6B 2P4
                                                 Office Depot, Inc.                                                                  6600 North Military Trail                                                                                                                        Boca Raton        FL              33496-2434
                                                 Office for Science and Technology                                                   4101 Reservoir Road, NW                                                                                                                          Washington        DC              20007-2130
                                                 Official Committee of Equity Security Holders                                       c/o Peter J. Gurfein, Esq. & Roye Zur, Esq.                      1801 Century Park East                    Suite 700                             Los Angeles       CA              90067-2309
                                                 Official Committee of Equity Security Holders of Premier Exhibitions, Inc.          c/o Jacob A. Brown, Esq.                                         50 North Laura St.                        Suite 3100                            Jacksonville      FL              32202-3659
                                                 Official Committee of Equity Security Holders of Premier Exhibitions, Inc.          c/o Katherine C. Fackler                                         50 North Laura St.                        Suite 3100                            Jacksonville      FL              32202-3659
                                                 OfootprintTech Services, Inc                                                        214-8678 Greenall Avenue                                                                                                                         Burnaby                           BC V5J 3M6           Canada
                                                                     Case 3:16-bk-02230-PMG                        Doc 1204   Filed 09/19/18            Page 8 of 16

                      Okanagan Science Center                               2704 Highway 6                                                                                                                         Vernon                           BC V1T 5G5   Canada
                      Oregon Museum of Science                              and Industry                                              1945 SE Water Avenue                                                         Portland            OR           97214-3356
                      Oregon Museum of Science and Industry                 c/o Skyler M. Tanner                                      Lane Powell PC                            601 SW Second Avenue, Suite 2100   Portland            OR           97204-3158
Oscar      Martinez                                                         760 E. Myrtle Street                                                                                                                   San Antonio         TX           78212-4134
                      Overture                                              595 Lakeview Parkway                                                                                                                   Vernon Hills        IL           60061-1827
                      PacBridge Limited Partners                            22/F Fung House                                           19-20 Connaught Road                                                         Central Hong Kong
                      Pacific National Exhibition                           2901 Hasting Street                                                                                                                    Vancouver                        BC V5K 5J1   Canada
                      Pallet Rack Surplus, Inc.                             1981 Old Covington Road NE                                                                                                             Conyers             GA           30013-1521
                      PathFinder Credit Service                             11300 4th St 200                                                                                                                       St. Petersburg      FL           33716-2940
                      Paxar Technologies Corp.                              P.O. Box 421                                                                                                                           Cobble Hill                      BC VOR 1L0   Canada
                      Peoria Riverfront Museum                              222 S. Washington Street                                                                                                               Peoria              IL           61602-2500
                      Pernot and Tatlin                                     1097 Revere Avenue                                                                                                                     San Francisco       CA           94124-3489
                      Plan Direct Resources                                 2A 9497 201 Street                                                                                                                     Langley                          BC V1M 4A5   Canada
                      Portland Science Center                               68 Commercial Street                                                                                                                   Portland            ME           04101-5089
                      Professional Debt Media                               7948 Baymeadow’s Way, 2nd Floor                                                                                                        Jacksonville        FL           32256-8539
                      Putnam Museum of History & Natural Science            1717 W. 12th Street                                                                                                                    Davenport           IA           52804-3547
                      Ramparts, Inc.                                        d/b/a Luxor Hotel and Casino                              3900 Las Vegas Blvd. South                                                   Las Vegas           NV           89119-1004
                      Ramparts, Inc., d/b/a Luxor Hotel and Casino          c/o Jason B. Burnett, Esq.                                50 North Laura Street, Suite 1100                                            Jacksonville        FL           32202-3611
                      Ricoh Canada, Inc.                                    5520 Explorer Drive                                       3rd Floor                                                                    Mississauga                      ON L4W 5L1   Canada
                      Ripley Entertainment Inc.                             7576 Kingspointe Pkwy.                                    Suite 188                                                                    Orlando             FL           32819-8590
                      Road Master                                           2800 East North Services                                                                                                               W. Memphis          AR           72301
                      Rocket Fuel, Inc.                                     1000 Parkwood Circle SE                                   Suite 900                                                                    Atlanta             GA           30339-2140
                      Rose Brand Wipers Inc.                                4 Emerson Lane                                                                                                                         Secaucus            NJ           07094-2504
                      Row NYC                                               700 8th Avenue                                                                                                                         New York            NY           10036
                      SH Studio Solutions                                   7912 Whitaker Valley Blvd.                                                                                                             Indianapolis        IN           46237-8535
Sam        Weiser                                                           565 Willow Road                                                                                                                        Winnetka            IL           60093-4133
Sarah C.   Daley      Rausch, Sturm, Israel, Emerson & Hannik               5801 Ulmerton Rd, St 201                                                                                                               Clearwater          FL           33760-3951
                      Savvy Pass                                            101 W. 23rd Street                                        Suite 400                                                                    New York            NY           10011-2490
                      Screen Actors Guild                                   1900 Broadway                                             5th Floor                                                                    New York            NY           10023-7038
                      Seaventures, Ltd.                                     5603 Oxford Moor Blvd.                                                                                                                 Windemere           FL           34786-7013
                      Secretary of the Treasury                             15th & Pennsylvania Ave., NW                                                                                                           Washington          DC           20220-0001
                      Securities & Exchange Commission                      950 E. Paces Ferry Rd, NE                                 Suite 900                                                                    Atlanta             GA           30326-1382
We         Shao                                                             77 King Street West                                       Suite 400                                                                    Toronto                          ON M5V 2L0   Canada
                      Shockwave Cargo                                       2001 W. Main Street                                       Suite 222                                                                    Stamford            CT           06902-4542
                      Silver Lining Advertising                             5327 Esparon Avenue                                                                                                                    Las Vegas           NV           89141-3874
                      Sloan Museum                                          1221 E. Kersley Street                                                                                                                 Flint               MI           48503-1988
                      Sophrintendenza Archeologica                          di Napoli e Pompei                                        Piazza Museo 19                                                              Naples                           80135        Italy
                      South Coast Transportation                            1424 S Raymond Avenue                                                                                                                  Fullerton           CA           92831-5235
                      Specialty Distribution                                d/b/a Bey                                                 P.O. Box 772288                                                              Orlando             FL           32877-2288
                      Sprint Nextel correspondence                          Attn Bankruptcy Dept                                      PO Box 7949                                                                  Overland Park       KS           66207-0949
                      St. Louis Science Center                              Foundation                                                5050 Oakland Avenue                                                          Saint Louis         MO           63110-1404
                      Structure Tone, Inc.                                  770 Broadway, 9th Floor                                   New York,                                                                    NY                  10003-9522
                      Structure Tone, Inc.                                  c/o Oscar Sanchez, Esq.                                   Goldberg Segalla, LLP                     222 Lakeview Avenue, Suite 800     West Palm Beach     FL           33401-6148
Hong Jin   Sui                                                              No. 35 East Langhua str.                                  Shadekou District, 110623                                                    Dalian China
                      Sunrise                                               12837 76th Avenue                                         No. 212                                                                      Surrey                           BC V3W 2V3   Canada
                      Syzygy 3                                              231 West 29th Street, Suite 606                           New York,                                                                    New York            NY           10001-5493
                      Syzygy3, Inc.                                         1350 6th Avenue                                           2nd Floor                                                                    New York            NY           10019-4703
                      TPL                                                   3340 Peachtree Road                                       Suite 2140                                                                   Atlanta             GA           30326-1084
                      TSL Terminals, Ltd.                                   10001 S. 152nd Street                                                                                                                  Omaha               NE           68138-3801
                      TSX Operating Co.                                     70 West 40th Street                                       9th Floor                                                                    New York            NY           10018-2622
                      TSX Operating Co., LLC                                226 West 44th Street                                                                                                                   New York            NY           10036-3906
                      TSX Operating Co., LLC                                c/o James Sanna                                           70 W. 40th St.                                                               New York            NY           10018-2671
                      Tall Order Communications                             543 Sturgeon Drive                                                                                                                     Saskatoon                        SK S7K 4H4   Canada
                      Telus                                                 1143 Robson Street                                                                                                                     Vancouver                        BC V6B 8N9   Canada
                      Terago Networks Inc.                                  P.O. Box 8956                                             Postal Station A                                                             Toronto                          ON M5W 2C5   Canada
                      The Armada Group GP, Inc.                             c/o Chris Broussard, Suzy Tate, P.A.                      14502 N. Dale Mabry Hwy., Suite 200                                          Tampa               FL           33618-2040
                      The Armada Group GP, Inc.                             c/o Suzy Tate, P.A.                                       14502 N. Dale Mabry Hwy., Ste. 200                                           Tampa               FL           33618-2040
                      The Eagle Leasing Company                             1 Irving Place                                            P.O. Box 923                                                                 Orange              CT           06477-0923
                      The Place Media                                       19200 Von Karman Avenue                                   6th Floor                                                                    Irvine              CA           92612-8516
                      The Place Media                                       60 East 42nd Street                                       Suite 2035                                                                   New York            NY           10165-6229
                      The Superlative Group                                 921 Huron Road                                                                                                                         Cleveland           OH           44115-1705
                      The Village Voice                                     80 Maiden Lane                                                                                                                         New York            NY           10038-4893
                      Themed Entertainment Assoc.                           150 E. Olive Avenue                                       Suite 306                                                                    Burbank             CA           91502-1850
                      Thompson Hine LLP                                     335 Madison Avenue                                        12th Floor                                                                   New York            NY           10017-4670
                      Thompson Hine LLP                                     3560 Lenox Road NE                                        Suite 1600                                                                   Atlanta             GA           30326-4274
                      Tickets for Groups                                    1 Federal Street                                                                                                                       Springfield         MA           01105-1199
                      Tickets for Groups                                    495 Mountain Road                                                                                                                      Wilbraham           MA           01095-1725
                      Time Out New York                                     1540 Broadway                                             42nd Floor                                                                   New York            NY           10036-4039
                      Time Out New York                                     405 Park Avenue                                                                                                                        New York            NY           10022-4405
                      Tom Lee Music Co. Ltd.                                929 Granville Street                                                                                                                   Vancouver                        BC V6Z 1L3   Canada
                      Total Quality Logistics, LLC                          P.O. Box 634558                                                                                                                        Cincinnati          OH           45263-4558
                      Trip Advisor LLC                                      400 1st Avenue                                                                                                                         Needham Heights     MA           02494-2815
                      Twentieth Century Fox                                 Licensing & Merchandising                                 Attn: Legal Dept.                         PO Box 900                         Beverly Hills       CA           90067
                      U.S. Department of Commerce                           c/o Matthew J. Troy                                       PO Box 875                                Ben Franklin Station               Washington          DC           20044-0875
                      U.S. Department of Commerce                           c/o Theodore B. Randles                                   U.S. Department of Justice                1100 L Street NW Ste 10060         Washington          DC           20005-4035
                      U.S. Securities and Exchange Commission               c/o Susan R. Sherrill-Beard                               950 East Paces Ferry Road, NE Suite 900                                      Atlanta             GA           30326-1382
                      Uline                                                 Attn: Accounts Receivable                                 2200 S. Lakeside Drive                                                       Waukegan            IL           60085-8311
                      Uline Canada Corporation                              Box 35500                                                 RPO Streetsville                                                             Mississauga         ON           L5M 0S8
                      Uniglobe Specialty Travel Lt                          1111 Melville Street                                      Suite 820                                                                    Vancouver                        BC V6E 3V6   Canada
                      United States Attorney                                300 N. Hogan Street                                       Suite 700                                                                    Jacksonville        FL           32202-4204
                      Universal Creative Concepts                           10143 Royalton Road                                       Unit E                                                                       North Royalton      OH           44133-4463
                      Universal intermodal service                          116 29TH AVE                                                                                                                           Council Bluffs      IA           51501-7629
                      Urban Impact                                          15360 Knox Way                                                                                                                         Richmond                         BC V6V 3A6   Canada
                                                                                                Case 3:16-bk-02230-PMG                       Doc 1204   Filed 09/19/18           Page 9 of 16

                                     VS Publishing Company                                             7616 Southland Boulevard                                 Suite 104                                                                    Orlando            FL   32809-6976
                                     Valleyfair                                                        1 Valley Fair Drive                                                                                                                   Shakopee           MN   55379-3098
                                     Vector                                                            560 Lexington Avenue                                     14th Floor                                                                   New York           NY   10022-6828
                                     Vector Transit                                                    6380 S. Valley View Blvd.                                Suite 106                                                                    Las Vegas          NV   89118-3908
                                     Verifone, Inc.                                                    300 S. Park Place Blvd.                                                                                                               Clearwater         FL   33759-4933
                                     Verifone, Inc.                                                    300 South Park Place Blvd.                                                                                                            Clearwater         FL   33759-4933
                                     Village Roadshow Theme Park                                       Pacific Motorway                                         Oxenford                                                                     Queensland              4210         Australia
                                     Village Voice                                                     80 Maiden Lane                                           Suite 2105                                                                   New York           NY   10038-4893
                                     Waste Management - Bankruptcy Department                          2625 W. Grandview Rd. Ste 150                                                                                                         Phoenix            AZ   85023-3109
                                     WNBC - NBC Universal Media                                        15000 SW 27th Street                                                                                                                  Hollywood          FL   33027-4147
                                     WNBC - NBC Universal Media                                        30 Rockefeller Center                                                                                                                 New York           NY   10112-0015
Guizhi            Wang                                                                                 7999 Jasmine Trail                                                                                                                    Cincinnati         OH   45241-1194
Samuel            Weiser                                                                               565 Willow Road                                                                                                                       Winnetka           IL   60093-4133
                                     Wells Fargo Vendor Financial Services                             PO Box 13708                                                                                                                          Macon              GA   31208-3708
                                     Western Heritage Museum                                           1 Thunderbird Circle                                     NMJC Campus                                                                  Hobbs              NM   88240-0200
                                     Wet N Wild Sidney                                                 427 Reservoir Road                                       Prospect                                                                     Sydney                  2148         Australia
                                     WiBand Communications Corp.                                       187 Commerce Drive                                                                                                                    Winnipeg                MB R3P 1A2   Canada
Wong              Hamazaki                                                                             555 Howe Street, 2/F                                                                                                                  Vancouver               BC V6C 2C2   Canada
                                     Worlds of Fun                                                     4545 Worlds of Fun Avenue                                                                                                             Kansas City        MO   64161-9307
                                     Yelp Inc c/o Szabo Associates, Inc.                               3355 Lenox Road NE                                       Suite 945                                                                    Atlanta            GA   30326-1357
                                     Yelp, Inc.                                                        140 New Montgomery Street                                                                                                             San Francisco      CA   94105-3822
Jihe              Zhang              15953 107th Avenue                                                                                                                                                                                      Surrey                  BC V4N 5N7   Canada
Shi Min (Simon)   Zhou               188 Si Ping Road                                                  Room 307                                                                                                                              Shanghai                200086       China
Gengu Longteng    Zigong             No. 10-4 TaiFeng Bldg.                                            68 HuiDong Road                                                                                                                       Zigong Sichuan                       China
Stephen D.        Busey              Smith Hulsey & Busey                                              225 Water Street, Suite 1800                                                                                                          Jacksonville       FL   32202-4494
Scott W.          Cichon             Cobb Cole                                                         149 S Ridgewood Avenue, #700                             Post Office Box 2491                                                         Daytona Beach      FL   32115-2491
Richard R.        Thames             Thames Markey & Heekin, P.A.                                      50 N Laura Street Suite 1600                                                                                                          Jacksonville       FL   32202-3614
Jacob A.          Brown              Akerman LLP                                                       50 North Laura Street                                    Suite 3100                                                                   Jacksonville       FL   32202-3659
Jason B.          Burnett            GrayRobinson, P.A.                                                50 N. Laura Street, Suite 1100                                                                                                        Jacksonville       FL   32202-3611
Aaron R.          Cohen                                                                                P.O. Box 4218                                                                                                                         Jacksonville       FL   32201-4218
Scott M.          Grossman           Greenberg Traurig PA                                              401 E. Las Olas Blvd., Suite 2000                                                                                                     Fort Lauderdale    FL   33301-4223
Jordi             Guso               Berger Singerman P.A.                                             1450 Brickell Avenue, 19th Floor                                                                                                      Miami              FL   33131-3444
Patricia          Redmond            Stearns Weaver Miller                                             150 West Flagler Street                                  Suite 2200                                                                   Miami              FL   33130-1545
                                     United States Trustee - JAX 11                                    Office of the United States Trustee                      George C Young Federal Building          400 West Washington Street Suite 1100
                                                                                                                                                                                                                                             Orlando            FL   32801-2210
Andrew T.         Jenkins            Bush Ross, PA                                                     Post Office Box 3913                                                                                                                  Tampa              FL   33601-3913
Jill E.           Kelso              Office of the United States Trustee                               400 W. Washington Street                                 Suite 1100                                                                   Orlando            FL   32801-2440
Jay B.            Verona             Shumaker, Loop & Kendrick, LLP                                    Bank of America Plaza                                    101 East Kennedy Boulevard, Suite 2800                                       Tampa              FL   33602-5150
J Ellsworth       Summers Jr.        Burr & Forman, LLP                                                50 North Laura Street, Suite 3000                                                                                                     Jacksonville       FL   32202-3658
                                     State of Florida Department of Revenue                            P.O. Box 6668                                                                                                                         Tallahassee        FL   32314-6668
William R.        Pursell            State of Florida, Department of Revenue                           P.O. Box 6668                                                                                                                         Tallahassee        FL   32314-6668
Robert A.         Heekin Jr.         Thames Markey and Heekin, PA                                      50 N. Laura Street, Suite 1600                                                                                                        Jacksonville       FL   32202-3614
                                     Fair Harbor Capital, LLC                                          PO Box 237037                                                                                                                         New York           NY   10023-0028
Norman P.         Fivel              State of New York                                                 Office of the Attorney General                           The Capitol                                                                  Albany             NY   12224
Asghar A.         Syed               Smith Hulsey & Busey                                              225 Water Street, Suite 1800                                                                                                          Jacksonville       FL   32202-4494
                                     U.S. Securities and Exchange Commission                           Atlanta Regional Office                                  950 East Paces Ferry Rd., N.E.           Suite 900                           Atlanta            GA   30326-1382
Steven R.         Fox                Law Offices of Steven R. Fox                                      17835 Ventura Blvd., Suite 306                                                                                                        Encino             CA   91316-3664
Courtney A.       McCormick          McGuireWoods LLP                                                  50 North Laura St, Suite 3300                                                                                                         Jacksonville       FL   32202-3661
Brian A.          Wainger            4456 Corporation Lane                                             Suite 135                                                                                                                             Virginia Beach     VA   23462-3151
Theodore B.       Randles            United States Department of Justice                               1100 L Street, NW                                        Suite 10060                                                                  Washington         DC   20005-4035
William R.        Poynter            Kaleo Legal                                                       4456 Corporation Lane                                    Suite 135                                                                    Virginia Beach     VA   23462-3151
                                     B.E. Capital Management Fund LP                                   205 East 42nd Street                                     14th Floor                                                                   New York           NY   10017-5752
                                     Dallian Hoffen Biotechnique Co., Ltd.                             c/o Ezra B. Jones                                        305 Crosstree Lane                                                           Atlanta            GA   30328-1813
Andrew            Shapiro            Lawndale Capital Management, LLC                                  591 Redwood Highway                                      No. 2346                                                                     Mill Valley        CA   94941-6001
Thomas J.         Kraus              ACK Investments, LLC                                              1512 Woodridge Place                                                                                                                  Birmingham         AL   35216-1656
Brian D.          Equi               Goldberg Segalla LLP                                              121 S Orange Avenue                                                                                                                   Orlando            FL   32801-3241
Roye              Zur                Landau, Gottfried & Beger, P.A.                                   1801 Century Park East, Suite 700                                                                                                     Los Angeles        CA   90067-2309
Skylar M.         Tanner             Lane Powell PC                                                    601 SW 2nd Avenue, Suite 2100                                                                                                         Portland           OR   97204-3158
                                     Glass Ratner Advisory & Capital Group LLC                         c/o Ronald L. Glass                                      3445 Peachtree Road, Suite 1225                                              Atlanta            GA   30326-3241
Anna Haugen       McGuireWoods LLP   50 N. Laura St. Suite 3300                                                                                                                                                                              Jacksonville       FL   32202-3661
                                     CRG Financial LLC                                                 100 Union Avenue                                                                                                                      Cresskill          NJ   07626-2141
John F.           Isbell             Thompson Hine LLP                                                 Two Alliance Center                                      3560 Lenox Road, Suite 1600                                                  Atanta             GA   30326-4274
Garrett A.        Nail               Thompson Hine LLP                                                 Two Alliance Center                                      3560 Lenox Road, Suite 1600                                                  Atlanta            GA   30326-4274
Matthew Jordan    Troy               United States Department of Justice                               Civil Division                                           Post Office Box 875                      Ben Franklin Station                Washington         DC   20044-0875
Timothy E.        Graulich           Davis Polk & Wardwell LLP                                         450 Lexington Avenue                                                                                                                  New York           NY   10017-3982
James I.          McClammy           Davis Polk & Wardwell LLP                                         450 Lexington Avenue                                                                                                                  New York           NY   10017-3982
Mara              Theophila          Davis Polk & Wardwell LLP                                         450 Lexington Avenue                                                                                                                  New York           NY   10017-3982
David             Lawton             Bracewell LLP                                                     City Place I, 34th Floor                                 185 Asylum Street                                                            Hartford           CT   06103-3458
Jennifer          Feldsher           Bracewell LLP                                                     1251 Avenue of Americas                                                                                                               New York           NY   10020-1100
                                     Georgia Dept. of Revenue                                          1800 Century Blvd. NE                                    Suite 12000                                                                  Atlanta            GA   30345-3205
                                     Sprint                                                            6200 Sprint Parkway                                                                                                                   Overland Park      KS   66251



Jeffrey           Chubak             Storch Amini PC                                                   140 East 45th Street                                     25th Floor                                                                   New York           NY   10017



Peter J.          Gurfein            Landau Gottfried & Berger LLP                                     1801 Century Park East                                   Suite 700                                                                    Los Angeles        CA   90067



                                     George F. Eyde Orlando, LLC & Louis J. Eyde Orlando, LLC          P.O. Box 4218                                                                                                                         East Lansing       MI   48826-4218
Douglas           Banker                                                                               6508 Crane Road                                                                                                                       Ypsilanti          MI   48197
Richard           Kraniak                                                                              3260 Wellington Court                                                                                                                 West Bloomfield    MI   48324
Richard           Kraniak                                                                              101 West Long Lake Road                                                                                                               Bloomfield Hills   MI   48304
Daoping           Bao                                                                                  5790 126A Street                                                                                                                      Surrey             BC   V3X 3H6      Canada
                                                                                                    Case 3:16-bk-02230-PMG                                Doc 1204                     Filed 09/19/18           Page 10 of 16

David            Gallo                                                                                            165 Siders Pond Rd.                                                                                                                           Falmouth          MA           02540
Jerome           Henshall                                                                                         Row 486                                                                       Jerome Henshall                          2015 SE 10th Ave       Fort Lauderdale   FL           33316
Dr. Roy          Glover                                                                                           2724 Maitland Drive                                                                                                                           Ann Arbor         MI           48105
Mark A.          Sellers                                                                                          101 Skokie Blvd.                                                                                                                              Northbrook        IL           60062
Mark A.          Sellers    c/o Robinson Curely, P.C.                                                             ATTN: Alan F. Curley and Alan R. Dolinko                                      300 South Wacker Drive                   Suite 1700             Chicago           IL           60606
Mark A.          Sellers    c/o John T. Rogerson, III                                                             Adams and Reese LLP                                                           501 Riverside Avenue                     7th Floor              Jacksonville      FL           32202
Douglas          Banker     c/o Madhouse Management                                                               P.O. Box 15108                                                                                                                                Ann Arbor         MI           48113
Jack             Jacobs     c/o Madhouse Management                                                               674 Thayer Road                                                                                                                               West Point        NY           10996
Jack             Jacobs     c/o Robinson Curely, P.C.                                                             ATTN: Alan F. Curley and Alan R. Dolinko                                      300 South Wacker Drive                   Suite 1700             Chicago           IL           60606
Jack             Jacobs     c/o John T. Rogerson, III                                                             Adams and Reese LLP                                                           501 Riverside Avenue                     7th Floor              Jacksonville      FL           32202
                            Sellers Capital, LLC                                                                  c/o Robinson Curely, P.C. ATTN: Alan F. Curley and Alan R. Dolinko            300 South Wacker Drive                   Suite 1700             Chicago           IL           60606
                            Sellers Capital, LLC                                                                  c/o Adams and Reese LLP ATTN: John T. Rogerson, III                           501 Riverside Avenue                     7th Floor              Jacksonville      FL           32202
                            Sellers Capital, LLC                                                                  c/o Damian & Valori LLP                                                       ATTN Kenneth D. Murena                   1000 Brickell Avenue   Miami             FL           33131
                            Sellers Capital Master Fund, Ltd.                                                     c/o Damian & Valori LLP                                                       ATTN Kenneth D. Murena                   1001 Brickell Avenue   Miami             FL           33132
                            Dot Dash 3                                                                                                                 SEE ABOVE
                            Dalian Hoffen Biotechnique Co. Ltd.                                                                                        SEE ABOVE
                            United States Department of Justice                                                   950 Pennsylvania Avenue, NW                                                                                                                   Washington        DC           20530-0001
Marie-Laurence   Navarri    Magistrat de liaison aux Etats-Unis                                                   Justice Attache, French Embassy                                               4101 Reservoir Road                                             Washington        DC           20007
Ulrike           Guerin     Culture Sector, Cultural Heritage Protection Treaties Section                         7, place de Fontenoy                                                                                                                          75352 Paris                    07 SP                France




                            Universal Studios Licensing LLC                                                       100 Universal City Plaza                                                                                                                      Universal City    CA           91608
                            Museum of Broadcast Communications                                                    360 N. State St.                                                                                                                              Chicago           IL           60654
                            Semmel Concerts GmbH                                                                  Am Muehlgraben 70                                                                                                                             Bayreuth                       95445                Germany
                            Cedar Fair, L.P.                                                                      One Cedar Point Drive                                                                                                                         Sandusky          OH           44870-5259
                            Canada's Wonderland Company                                                           9580 Jane Street                                                                                                                              Vaughan           ON           V6W 1K9              Canada
                            Natural Sciences of Drexel University                                                 1900 Benjamin Franklin Parkway                                                                                                                Philadelphia      PA           19103-1195
                            San Antonio Zoo                                                                       3903 N. St. Mary's St.                                                                                                                        San Antonio       TX           78212
                            Sloan Museum                                                                          4190 E. Court Street                                                                                                                          Burton            MI           48509
                            Springs Preserve                                                                      333 S. Valley View Blvd.                                                                                                                      Las Vegas         NV           89107
                            Assiniboine Park Conservancy Inc.                                                     2595 Roblin Blvd.                                                                                                                             Winnipeg          MB           R3P 2N7              Canada
                            Edmonton Space & Science Foundation                                                   11211 142 Street NW                                                                                                                           Edmonton          AB           T5M 4A1              Canada
                            Societe Zoologique de Granby Inc.                                                     525 rue St-Hubert                                                                                                                             Granby            Quebec       J2G 5P3              Canada
                            The River of Death and Discovery Dinosaur Museum Society (Philip J. Currie Dinosaur
                            Museum)                                                                               Box 328 9301-112 Wembly                                                                                                                       Wembly            AB           T0H 3S0              Canada
                            A.K. Xibits, LLC                                                                      9500 E. Via de Ventura Rd.                                                                                                                    Scottsdale        AZ           85256
                            Baylor University                                                                     1300 South University Parks Drive                                                                                                             Waco              TX           76706-1221
                            JVS Group                                                                             Prague Gate House                                                                                                                             Turkova 5B        Prague       149 00               Czech Republic
                            Wuhan Hangu Art Gallery Limited Company                                               No. 889 Luoyu Rd.                                                             Donghu New Technology Development Zone                                                         430074               China
                            China Machinery Industry Fifth Construction Co., Ltd.                                 No. 4, Feiyang South Road                                                     Dayang Industrial Park                   Luyang District        Hefei                                               China
                            Yikon Artspace Co. Ltd. (Lipont Place)                                                4211 No. 3 Rd.                                                                                                                                Richmond          BC           V6X 2C3              Canada
                            Oregon Museum of Science and Industry, Inc.                                           1945 SE Water Ave.                                                                                                                            Portland          OR           97214
                            City of Surrey-Surrey Museum                                                          17710 - 56A Ave.                                                                                                                              Surrey            BC           V3S SH8              Canada
                            Jurgen Kliewe                                                                         Sparkasse Uecker-Randow                                                                                                                       Ueckerstrasse     Uekermünde   17373                Germany
                            Canon                                                                                 1900-999 West Hastings Street                                                                                                                 Vancouver         BC           V6C 2W2              Canada
                            Ricoh                                                                                 5520 Explorer Dr.                                                             Suite 300                                                       Mississauga       ON           L4W 5L1              Canada
                            Pitney Bowes                                                                          2225 American Drive                                                                                                                           Neenah            WI           54956-1005
                            Savant                                                                                130 Prominence Point                                                          Suite 130-121                                                   Georgia                                     30114
                            Mitel                                                                                 28760 Network Place                                                                                                                           Chicago           IL           60673-1287
                            Comcast                                                                               Attn: Exception Area                                                          1 Comcast Center                         48th floor             Philadelphia      PA           19103
                            Toronto Dominion Bank                                                                 Richmond Commercial Banking Centre                                            5991 No. 3 Road Branch                   2nd Floor              Richmond          BC           V6X 3Y6              Canada
                            Infinity Filmed Entertainment Group Ltd.                                               217-5589 Byrne Road                                                                                                                          Burnaby           BC           VSJ 3J1              Canada
                            Partners in Motion Pictures, Inc.                                                     161 West Georgia Street                                                       Suite 2208                                                      Vancouver         BC           V6B 0K9              Canada
                            Verifone                                                                              980 Kelly Johnson Drive                                                       Suite 120                                                       Las Vegas         NV           89119
                            Certified Folder                                                                      1120 Joshua Way                                                                                                                               Vista             CA           92081
                            Outdoor Solutions                                                                     5230 W. Patrick Lane                                                                                                                          Las Vegas         NV           89118
                            Kirvin Doak Communications                                                            5230 W. Patrick Lane                                                                                                                          Las Vegas         NV           89118
                            Adrenaline Media                                                                      329 Franklin Street                                                                                                                           Ocoee             FL           34761
                            Enjoy Florida                                                                         1215 Spruce Ave.                                                                                                                              Orlando           FL           32824
                            I Love Orlando                                                                         5601 Windhover Dr.                                                                                                                           Orlando           FL           32819
                            Welcome Guide Map                                                                     4940 72nd Ave.                                                                Suite 200                                                       Pinellas Park     FL           33781
                            Where Guide                                                                           376 E. Warm Springs                                                           Suite 110                                                       Las Vegas         NV           89119
                            Starfish Marketing                                                                    432 Raehn St.                                                                                                                                 Orlando           FL           32806
                            Kenney Rack Cards                                                                      1215 Spruce Ave.                                                                                                                             Orlando           FL           32824
                            Press Marketing                                                                        3109 W. Dr. Martin Luther King Jr. Blvd.                                     Suite 121                                                       Tampa             FL           33607
                            CTM Media Group                                                                        515 Marksmen Ct.                                                                                                                             Fayetteville      GA           30214
                            Dongguan City Liang Jewelry Co.                                                       No.29 Rongwen Road                                                                                                                            Chang’an Town     Dongguan     Guangdong            China
                            Lone Wolf Documentary Group                                                           10 Cottage Road                                                                                                                               South Portland    ME           04106
                            A&E Television Networks, LLC                                                          235 E 45th Street                                                                                                                             New York          NY           10017
                            Mallinson Sadler Productions Limited                                                  18 Mortimer Rd.                                                                                                                               Clifton           Bristol      BS8 4EY              England
                            Northern Sky Entertainment Ltd.                                                       508 Riverside Drive                                                                                                                           Toronto           ON           M6S 4B5
                            National Geographic Society                                                           1145 17th Street, N.W.                                                                                                                        Washington        D.C.         20036
                            The Opportunity Management Company, Inc. d/b/a StoryTech Immersive                    P.O. Box 1986                                                                                                                                 Studio City       CA           91614
                            RCAP Leasing Inc.                                                                     5575 North Service Road                                                       Suite 300                                                       Burlington        ON           L7L 6M1
                            HM Peachtree Corners I LLC                                                            P.O. Box 32149                                                                                                                                New York          NY           10087
                            Selig Enterprises, Inc.                                                               1100 Spring St.                                                               Suite 550                                                       Atlanta           GA           30326
                            PPF RTL Atlantic Town Center, LLC                                                     c/o Morgan Stanley Real Estate Investments                                    3224 Peachtree Rd. NE                    9th Floor              Atlanta           GA           30326
                            Ramparts, LLC d/b/a Luxor Hotel                                                       c/o Brett Oakden                                                              3900 Las Vegas Boulevard, South                                 Las Vegas         NV           89119
                            Ramparts, LLC d/b/a Luxor Hotel                                                       c/o Jason Burnett, Esq.                                                                          SEE ABOVE
                            Ramparts, LLC d/b/a Luxor Hotel                                                       c/o MGM Resorts Int'l, ATTN: Ed Mulholland                                    6385 S. Rainbow Blvd.                    Suite 500              Las Vegas         NV           89118
                            Vtech Technologies Canada Ltd.                                                        12111 Jacobson Way                                                                                                                            Richmond          BC           V6W 1L5
                            George F. Eyde Orlando, LLC & Louis J. Eyde Orlando, LLC                                                                    SEE ABOVE
                                                                                Case 3:16-bk-02230-PMG                            Doc 1204     Filed 09/19/18          Page 11 of 16

David       Gallo                                                                       165 Siders Pond Rd.                                                                                                                  Falmouth             MA                02540
Daoping     Bao                                                     SEE ABOVE
Jerome      Henshall                                                                                                          Row 486                   Jerome Henshall                  2015 SE 10th Ave                    Fort Lauderdale      FL                33316
Dr. Roy     Glover                                                                                                       2724 Maitland Drive                                                                                 Ann Arbor            MI                48105
                              Bay Point Capital Partners, LP
Lange       Feng                                                                                                            SEE ABOVE
Haiping     Zou                                                                                                             SEE ABOVE
Jihe        Zhang                                                                                                           SEE ABOVE
                              AEG Presents, LLC                                         c/o Pillsbury Winthrop Shaw Pittman LLP                         ATTN: Kathy A. Jorrie, Esq.      725 S. Figuera Street, Suite 2800   Los Angeles          CA                90017
                              AEG Presents, LLC                                         c/o Managing Member                                             5750 Wilshire Blvd.              Suite 501                           Los Angeles          CA                90036-3638
                              AEG Presents, LLC                                         c/o Managing Member                                             800 W. Olympic Blvd.             Suite 305                           Los Angeles          CA                90015
                              AEG Presents, LLC                                         c/o Managing Member                                             425 W. 11th Street                                                   Los Angeles          CA                90015-3459
                              AEG Presents, LLC                                         c/o CT Corporation System, Registered Agent                     ATTN: Amanda Garcia              818 W. Seventh Street, Suite 930    Los Angeles          CA                90017
                              Paychex, Inc.                                             1175 John Street                                                                                                                     West Henrietta       NY                14586
                              UnitedHealthcare                                          2300 Clayton Road                                               Suite 1000                                                           Concord              CA                94520
                              Ministry of Health                                        1515 Blanshard St.                                                                                                                   Victoria             BC                V8W 3C8      Canada
                              Encon                                                     500-1400 Blair Place                                                                                                                 Ottawa               ON                K1J 9B8      Canada
                              Plan Direct Resources                                     2A - 9497 201 Street                                                                                                                 Langley              BC                V1M 4A5      Canada
                              Markel; & Lloyds                                          Ten Parkway North                                                                                                                    Deerfield            IL                60015
                              Hartford                                                  3655 N Point Pkwy                                                                                                                    Alpharetta           GA                30005
                              Chubb                                                     One Beaver Valley Rd                                                                                                                 Wilmington           DE                19803
                              AIG/Chartis                                               80 Pine St                                                                                                                           New York             NY                10005
                              Liberty Insurance Underwriters                            55 Water St                                                                                                                          New York             NY                10041
                              Argonaut                                                  110 Pitts Bay Rd                                                                                                                     Pembroke                               HM 08        Bermuda
                              Underwriters at Lloyds                                    One Lime Street                                                                                                                      London                                 EC3M 7HA     England
                              Illinois National Insurance Co.                           80 Pine St                                                                                                                           New York             NY                10005
                              Great American Insurance Co.                              301 E Fourth St                                                                                                                      Cincinnati           OH                45202
                              Chubb                                                     400 Inverness Pkwy                                                                                                                   Englewood            CO                80112
                              Travelers                                                 215 Shuman Blvd                                                                                                                      Naperville           IL                60563



Adam        Bavis                                                                       39 West 22nd Ave                                                                                                                     Vancouver            BC                V5Y 2E9      Canada
Bryce       Ferris                                                                      Bryce Ferris 102                                                2365 West 1st Ave                                                    Vancouver            BC                V6K 1G4      Canada
Dale        Williamson                                                                  P.O. Box 442                                                    Quathiaski Cove                                                      Quadra Island        BC                V0P 1N0      Canada
Darin       McVay                                                                       321 - 7151 Edmonds Street                                                                                                            Burnaby              BC                V3N 4N5      Canada
Ingrid      Tamboline                                                                   204-1040 4th Ave                                                                                                                     New Westminster      BC                V3M1T4       Canada
Jason       Smith                                                                       116 East 41st Avenue                                                                                                                 Vancouver            BC                 V5W 1N7     Canada
Michael     Bernard                                                                     2462 Highway 3A                                                                                                                      Nelson               BC                V1L 6K7      Canada
Perry       Poon                                                                        12-8171 Steveston Highway                                                                                                            Richmond             BC                V7A 1M4      Canada
Rod         Bartlett          Renaissance Man                                           1364 E. Keith Rd                                                                                                                     North Vancouver      BC                V7J 1J2      Canada
                              0footprint Tech Services Inc                              7184 120th Street                                               Unit 221                                                             Surrey               BC                 V3W 0M6     Canada
                              A-1 Drainage Plumbing & Heating Ltd.                      376 East 13th Ave.                                                                                                                   Vancouver            BC                 V5T 2K5     Canada
                              A & W Lock & Key Service                                  P.O. Box 44510                                                  RPO 1st Avenue                                                       Vancouver            BC                V5L 4R8      Canada
                              A.N. Deringer                                             P.O. Box 11349                                                  Succursale Centre-Ville                                              Montreal                               PQ H3C 5H1   Canada
                              AAA Plus Service Ltd.                                     602-3380 Vanness Ave                                                                                                                 Vancouver            BC                V5R 6B8      Canada
                              ACCA Access Production Inc.                               Unit 145                                                        15100 Knox Way                                                       Richmond             BC                V6V 3A6      Canada
                              Accessible IT                                             816-602 West Hastings St.                                                                                                            Vancouver            BC                V6B 1P2      Canada
                              Acklands-Grainger Inc.                                    P.O. Box 2970                                                                                                                        Winnipeg             MB                R3C 4B5      Canada
                              Adcom Worldwide - YYZ                                     556 Bryne Drive                                                 Unit #20 Barrie                                                                           ON                L4N 9P6      Canada
                              Adecco Employment Services Ltd                            175 Broadhollow Road                                                                                                                  Melville             NY               11747
                              Alloyworks of Canada Ltd.                                 1641 Londale Ave                                                Suite 421                                                             North Vancouver     BC                V7M 2J5      Canada
                              Alta Pacific Transport Ltd.                               9975 199B Street                                                                                                                      Langley             BC                V1M 3G4      Canada
                              American Alliance of Museums                              P.O. Box 741970                                                                                                                       Atlanta             GA                30374-1970
                              American Recycling Center, Inc                            655 Wabassee Drive                                                                                                                    Owosso              MI                48867
                              Andornot Consulting Inc                                   1700-808 Nelson Street                                                                                                                Vancouver           BC                V6Z 2H2      Canada
                              Apple Canada Inc.                                         P.O. Box 4090 STN                                               C/O Lockbox 916170                                                    Toronto             ON                M5W 0E9      Canada
                              Arkadin Canada                                            Accounts Receivable                                             C/O TH0005                       P.O. Box 4269 Postal Station A       Toronto             ON                M5W 5V2      Canada
                              Arpac                                                     7663 Progress Way                                                                                                                    Delta                BC                V4G 1A2      Canada
                              Artcraft Display Graphics Inc.                            112 - 1533 Broadway Street                                                                                                            Port Coquitlam      BC                V3C 6P3      Canada
Joseph S.   Mella, Director   Association of Academic Museums and Gallery               Vanderbilt University Fine Arts Gallery                         PMB 273                          230 Appleton Place                   Nashville           Tennessee         037203
                              Association of Science - Technology Center                818 Connecticut Avenue NW                                       Suite 700                                                            Washington           DC                20006-2734
                              Association of Zoos & Aquariums                           P.O. BOX 79863 Baltimore                                                                                                             Baltimore            MD                21279-0863
                              Atelier Multi Versions Inc.                               1001 Lenoir                                                     Suite A-412                                                          Montreal             QC                H4C 2Z6      Canada
                              ATS, Inc.                                                 P.O. Box 9993                                                                                                                        Long Beach           CA                90810
                              Avenger logistics, LLC                                    P.O. Box 16638                                                                                                                                            TN                37416
                              Backstage Support Services Ltd.                           10357 - 109 St.                                                 #315                                                                 Edmonton             AB                T5J 1N3      Canada
                              BackStrech Consulting Group Inc.                          101-1990 Kent Ave. SE                                                                                                                 Vancouver           BC                V5P 4X5      Canada
                              BC Hydro                                                  P.O. Box 9501                                                   Stn Terminal                                                          Vancouver           BC                V6B 4N1      Canada
                              BDO Canada LLP                                            600 Cathedral Place                                             925 West Georgia Street                                               Vancouver           BC                V6C 3L2      Canada
                              Beijing EasyTown Consulting Service Co.,                  Room 912                                                        Building E                       Longqi Plaza                         Changping           Beijing                        China
                              Beijing Ying Ke Law Firm Guangzhou Office                 9/F                                                             Central Tower                    No.5 Xiancun Road                    Zhujiang New Town   Tianhe District   Guangzhou    China
                              Best Buy Canada Ltd.                                      C/O V06481C/U                                                   P.O. BOX 6481 Station Terminal                                        Vancouver           BC                V6B 6R3      Canada
                              Bin There Disposal Services                               Bin There Disposal Services                                     P.O. Box 54213                   1562 Lonsdale Ave North             Vancouver            BC                V7M 3L5      Canada
                              Black Hills Institute.                                    Black Hills Institute.                                          P.O. Box 643                     117 Main St.                        Hill City            South Dakota      57745
                              Bollore Logistics Canada Inc.                             Bollore Logistics Canada Inc.                                   2100-5200 Miller Rd.                                                  Richmond            BC                V7B 1L1      Canada
                              Brand Fuse                                                Brand Fuse                                                      112 Spaulding                                                        San Anselmo          CA                94960
                              Broadway Welding Shop                                     Broadway Welding Shop                                           1529 Venables Street                                                 Vancouver            BC                V5L 2G8      Canada
                              Budd Wentz Productions                                    Budd Wentz Productions                                          8619 Skyline Blvd.                                                   Oakland              California        94611-1635
                              Canada Life                                               2A-9497 201 Street                                                                                                                   Langley              BC                V1M4A5       Canada
                              Canadian Association of Science Centres                   100 Ramsey Lake Road                                                                                                                  Sudbury             ON                P3E 5S9      Canada
                              Canadian Museums Association                              Canadian Museums Association                                    400 - 280 Metcalfe Street                                            Ottawa               ON                K2P 1R7      Canada
                              Canon Canada Inc                                          Lockbox 914820                                                  P.O. Box 4090, Stn A                                                 Toronto              ON                M5W 0E9      Canada
                              Canstore Rentals Ltd.                                     Canstore Rentals Ltd.                                           11660 Mitchell Road                                                  Richmond             BC                V6V 1T7      Canada
                                                                  Case 3:16-bk-02230-PMG                  Doc 1204   Filed 09/19/18            Page 12 of 16

                       Cascade Raider Holdings Ltd.                       Unit 105 - 19358                                    96 Avenue Surrey                                                                        V4N 4C1            Canada
                       Canada Border Services Agency                                                                                                                                    Ottawa            ON          K1A 0L8            Canada
                       CBSC Capital Inc.                                  3450 Superior Court                                 Unit 1                                                    Oakville          ON           L6L 0C4           Canada
                       CDW Canada Inc.                                    P.O. Box 57720                                      Postal Station A                                          Toronto           ON          M5W 5M5            Canada
                       CMC Logistics Co. LTD                              Suite 240                                           5800 Cedarbridge Way                                      Richmond          BC           V6X 2A7           Canada
                       Coast Fiber-Tek Products Ltd.                      1306 Boundary Road                                                                                            Burnaby           BC          V5K 4T6            Canada
                       Cole International Inc                             201-17637 - 1st Avenue                                                                                        Surrey            BC          V3S 9S1            Canada
                       Colour Time                                        150-1066 West Hastings St.                                                                                    Vancouver         BC          V6E 3X1            Canada
                       Columbia Printing Services, LLC                    59-4 Central Ave.                                                                                             Farmingdale       NY          11735
                       ConGlobal Industire, Inc                           32872 Collection Center Drive                                                                                 Chicago           IL          60693-0328
                       ContainerPort Group Inc.                           P.O.Box 827506                                                                                                Philadelphia      PA          19182-7506
                       ContainerWest Manufacturing Ltd.                   11660 Mitchell Rd                                                                                             Richmond          BC          V6V 1T7            Canada
                       Crystal Pure water Co. Inc                         6690 Woodvale Crescent                                                                                        Burnaby           BC          V5B 2R6            Canada
                       CT Corporation US$                                 520 Pike Street                                     Suite 985                                                 Seattle           WA          98101
                       CWC Modular Industries Corp                        1 - 8105 North Fraser Way                                                                                     Burnaby           BC          V5J 5M8            Canada
                       D+H Cheque Services Corporation                    ATTN: Accounts Receivable                           1736 Orangebrook Court                 Unit 23            Pickering         Ontario     L1W 3G8            Canada
                       Davco Industries Ltd                               101 Amber Street                                    Unit 9                                                    Markham           ON          L3R 3B2            Canada
                       DCT Delta Custom Tools (2008) Ltd.                  #4 - 7157 Honeyman Street                                                                                    Delta             BC          V4G 1E2            Canada
                       Delmonte Gravel & Construction LTD.                P.O. BOX 36                                         535 Delmonte Lane                                         Timmins           ON          P4N 7C5            Canada
                       Delta Pallet Inc                                   7438 Hume Avenue                                                                                              Delta             BC          V4G 1C5            Canada
                       Denbigh Fine Art Services Ltd.                     D155 West 7th Avenue                                                                                          Vancouver         BC          V5Y 1L8            Canada
                       Dentons Canada LLP                                 Attn: Stella Yau                                    20th Floor                             250 Howe Street    Vancouver         BC          V6C 3R8            Canada
                       Dentons US LLP                                     1221 Avenue of the Americas                                                                                   New York          NY          10020-1089
                       Desjardins Card Services (Staples)                 FCDQ                                                PO Box 8601                            Stn Centre-Ville   Montreal          QC          H3C 3V2            Canada
                       Diamond Int'l Travel Ltd                           Unit 1080-8888 Odlin Crescent                                                                                 Richmond          BC          V6X 3Z8            Canada
                       Dinosaurs Cases                                    8816 Osler Street                                                                                             Vancouver         BC          V6P 4G2            Canada
Don          Enright                                                      1260 Bidwell St.                                    Apt 801                                                   Vancouver         BC          V6G 2L2            Canada
Don          Lessem                                                       1640 North Ridley Creek Road                                                                                  Media             PA          19063
                       Double Dare Design                                 101-1145 East 29th Street                                                                                     North Vancouver   BC          V7K 1C3            Canada
                       E.Madill Office Company (2001) Ltd.                P.O. Box 1240                                                                                                 Ladysmith         BC          V9G 1A8            Canada
                       EI Paso Zoological Society                         P.O. Box 10179                                                                                                EI Paso           Texas       79995
                       Eimskip Logistics                                  1424 Baker Road                                                                                               Virginia Beach    VA          23455
                       Elia Kirby Productions Ltd.                        Great Northern Way Scene Shop                       281 Industrial Ave.                                       Vancouver         BC          V6A 2P2            Canada
                       Encon                                              500-1400 Blair Place                                                                                          Ottawa            Ontario     K1J 9B8            Canada
                       Enterprise Rent-A-Car Canada Company               709 Miner Ave                                                                                                 Scarborough       ON           M1B6B6            Canada
                       EOS Lightmedia Corporation                         310-825 Powell St                                                                                             Vancouver         BC          V6A 1H7            Canada
                       Evans & Evans, Inc                                 1610-400 Burrard St.                                                                                          Vancouver         BC          V6C 3A6            Canada
                       Exhibit Express                                    2755 Yale Street                                                                                              Vancouver         BC          V5K 1C4            Canada
                       Exhibitree Display Services Inc.                   #110-7858 Hoskins Street                                                                                      Delta             BC          V4G 1M4            Canada
                       F&D o/a Great Lakes Scenic Studios                 1095 Northside Road                                                                                           Burlington        Ontario     L7M 1H5            Canada
                       False Creek Fabrication                            449 Industrial Ave.                                                                                           Vancouver         BC          V6A 2P8            Canada
                       Fasken Martineau Dumoulin LLP                      2900-550 Burrard Street                                                                                       Vancouver         BC          V6C 0A3            Canada
                       Federal Express Canada Corporation                 PO Box 4626                                         Toronto Stn A                                             Toronto           ON          M5W 5B4            Canada
                       FedEx Freight.                                     LockBox 916831                                      P.O. Box 9100 STN F                                       Toronto           ON          M4Y 3A5            Canada
                       Florida Container Depot                            1039 50th Street South                                                                                        Tampa              Florida    33619
                       FMI Logistics Inc.                                 111 7151-44 Street SE                                                                                         Calgary           AB           T2C 4E8           Canada
                       FSRES BC LTD                                       200 Granville St #700                                                                                         Vancouver         BC          V6C1S4             Canada
                       FX Squared SoundDesign Inc.                        16806 84th Ave                                                                                                Surrey            BC          V4N 4V3            Canada
                       Geo. Bezdan Sales Ltd.                             4050 Graveley Street                                                                                          Burnaby           BC          V5C 4A5            Canada
                       Glass Systems, Inc.                                1100 S. Rio Grande Avenue                                                                                     Orlando           FL          32805
                       Gregory Paul                                       3100 St Paul St. #604                                                                                         Baltimore         MD          21218
                       Guangzhou Lions Gate Furniture Co.                 Team 1                                              Taishi Village                         Dongchong Town     Panyu District    Guangzhou                      China
                       Hamazaki Wong                                      555 Howe Street-2/F                                                                                           Vancouver         BC          V6C 2C2            Canada
                       Hertz Equipment Rental Corporation                 116 Meridian Road S.E.                                                                                        Calgary           AB           T2A 1X2           Canada
                       Holiday Inn Express                                7035 Jimmy Carter Blvd.                                                                                       Norcross          GA          30092
                       Ideum Inc.                                         2469 Corrales Road                                  Building C                                                Corrales          NM          87048
                       Infinity Filmed Entertainment Group Ltd.           5589 Byrne Road                                     Unit 217                                                  Burnaby           BC          V5J 3J1            Canada
                       Infology Corporation                               2511 Brookhurst Rd.                                                                                           Mississauga       ON          L5J 1R5            Canada
                       Informal Learning Experiences, Inc.                1776 Krameria Street                                                                                          Denver            CO          80220
                       Innovation Lighting                                7818 Express Street                                                                                           Burnaby           BC          V5A 1T4            Canada
                       Interdom LLC                                       35041 Eagle Way                                                                                               Chicago           IL          60678-1350
                       J&T Trucking Ltd.                                  855-60th Street                                                                                               East Saskatoon    Sask.       S7K 5Z7            Canada
                       Jardine Lloyd Thompson Canada Inc.                 16th Fl                                             1111 West Georgia St                                      Vancouver         BC          V6E 4G2            Canada
Jun (John)   Hui                                                          1405-200 Newport Dr.                                                                                          Port Moody        BC          V3H 5B7            Canada
                       KMS Tools and Equipment Ltd.                       110 Woolridge St.                                                                                             Coquitlam         BC           V3K 5V4           Canada
                       Labour Unlimited Temporary Services                6908A Palm Ave.                                                                                               Burnaby           BC          V5J 4M3            Canada
                       Language 4 Advantage                               3911 Victoria Place                                                                                           Port Coquitlam    BC          V3B 5M1            Canada
                       Law Office of Terry T. Preshaw, PS                 2727 Oakes Ave Ste 200                                                                                        Everett           WA          98201
                       Lida Xing (USD)                                    #1002 Unit 2 No.2 Building                          Yangguanghuayuan                       101 Majiapu        Beijing City                               100068 China
                       M&Y Global Logistics (Wuhan) Co.,Ltd.              Room 808                                            8/F Wuhan Tianyuan Business Building   357 Fazhan Road    Wuhan                          430024             China
                       McCollister's                                      P.O. Box 37794                                                                                                Baltimore         MD          21297-3794
                       McDowell Brothers Industries Inc                   2018 Kingsway                                                                                                 Sudbury           ON           P3B 4J8           Canada
                       McMillan LLP                                       Suite 1500 Royal centre                             1055 W Georgia ST                      PO box 11117       Vancouver         BC          V6E 4N7            Canada
                       Median Telecom                                     4959 Fenton Dr.                                                                                               Delta             BC          V4K 2H5            Canada
                       Meltwater News Canada Inc                          Royal Bank of Canada                                P.O. Box 9377 Stn A                                       Toronto           ON          M5W 3M2            Canada
                       Metal Ventures Inc.                                20059 92A Avenue                                    Unit 3                                                    Langley           BC          BC V1M 3A5         Canada
                       Micrarium Enterprises Ltd                          Unit H                                              Ringstones Industrial Estate           Bridgemont         Waley Bridge      High Peak   SK23 7PD           England
                       MNP LLP                                            #316 5455 - 152 Street                                                                                        Surrey            BC          V3S 5A5            Canada
                       Multi-Plast Industries (1987) INC                  150-12571 Bridgeport Road                                                                                     Richmond          BC          V6V 1J4            Canada
                       Multiview, Inc                                     P.O. Box 674777                                                                                               Detroit           MI          48267-4777
                       Netgenetix.com Media Inc.                          265 1st Ave                                                                                                   Vancouver         BC          V5T 1A7            Canada
                       Nightingale Electrical Ltd.                        143- 11121 Horseshoe Way                                                                                      Richmond          BC          V7A 5G7            Canada
                       Norseman Inc.                                      Norseman Allfoam 80                                 9080 - 196A Street Langley                                                  BC          V1M 3B4            Canada
                                                                               Case 3:16-bk-02230-PMG                        Doc 1204   Filed 09/19/18             Page 13 of 16

                             North American Freight Forwarding Inc.                    556 Bryne Drive                                           Unit #20                                                          Barrie            ON               L4N 9P6      Canada
                             October Studio Ltd                                        120-2981 Simpson road                                                                                                       Richmond          B.C.             V6X 2R2      Canada
                             OCTS                                                      Overland Container Transportation                         7022-51 Avenue                                                    Edmonton          Alberta          T6B 2P4      Canada
                             Olympia Transportation Ltd.                               P.O. Box 88503                                                                                                              Surrey            B.C.             V3W 0X1      Canada
                             Paxar Technologies Corp                                   P.O. Box 421                                                                                                                Cobble Hill       BC               V0R 1L0      Canada
                             PCB Freight Management Ltd.                               #101-17637 1st Avenue                                                                                                       Surrey            BC               V3Z 9S1      Canada
                             Plan Direct Resources                                     #2A - 9497 201 Street                                                                                                       Langley           BC                V1M 4A5     Canada
                             Production Canada Inc.                                    #12-51B Caldari Rd.                                                                                                         Vaughan           ON               L4K 4G3      Canada
                             Richelieu Hard. Ltd                                       1200 East Kent Ave                                                                                                          Vancouver         BC               V5X 2X8      Canada
                             Ricoh Canada Inc.                                         5520 Explorer Drive                                       3rd Floor                                                         Mississauga       ON               L4W 5L1      Canada
                             Rogers                                                    P.O. Box 8878 STN Terminal                                                                                                  Vancouver         BC               V6B 0H6      Canada
                             SeaBay Logistics Limited (USD)                            Unit 3108-3113                                            CIQ Tower South Wenjin Rd         Shenzhen                        Guangdong                                       China
Shi Ming (Simon)   Zhou                                                                Rm 307                                                    188 Si Ping Rd                                                    Shanghai                           200086       China
                             Shipco Transport (Canada) Inc                             2125-6900 Graybar Road                                                                                                      Richmond          BC               V6W 0A5      Canada
Shuang Wen         Chen                                                                6040 Christina Rd                                                                                                           Richmond          BC               V7C 2P8      Canada
Stacy              Ellwein                                                             301-1718 Venables Street                                                                                                    Vancouver         BC               V5L 2H4      Canada
                             Strata Plan EPS 1977 - FirstService Residential           Attn: Accounts Receivable                                 200 Granville Street              Suite 700                       Vancouver         BC               V6C 1S4      Canada
                             Sun Life Assurance Company                                P.O. Box 1601 Stn Waterloo                                                                                                  Waterloo          ON               N2J 4C5      Canada
                             Sunbelt Rentals of Canada Inc                             P.O. Box 99257                                            Station Terminal                                                  Vancouver         BC               V6B 0N5      Canada
                             Sunrise                                                   #212                                                      12837 - 76th Ave.                                                 Surrey            BC               V3W 2V3      Canada
                             Syntrans Holdings (1985) Co Ltd.                          Rm.2606B                                                  26/F Island Place Tower           510 King’s Street                                                               Hong Kong
                             Tall Order Communications                                 543 Sturgeon Drive                                                                                                          Saskatoon          SK              S7K 4H4
                             Telus                                                     P.O. Box 7575                                                                                                               Vancouver          BC              V6B 8N9      Canada
                             The Butler Did It Catering Co.                            620 Clark Drive                                                                                                             Vancouver          BC              V5L 3H8      Canada
                             The Eagle Leasing Company                                 1 Irving Eagle Place                                      P.O. Box 923                                                      Orange             CT              06477
                             The Printing House Ltd.                                   1403 Bathurst Street                                                                                                        Toronto            ON              M5R 3H8      Canada
                             The Sherwin Williams Co.                                  11040 No.5 Rd                                                                                                               Richmond           BC              V7A 4E7      Canada
                             Tom Lee Music Co. Ltd                                     Suite 310 - 650 West Georgia Street                                                                                         Vancouver          BC              V6B 4N7      Canada
                             TOP Semiconductor Lighting Co., Ltd.                      Venture Industrial                                        Sha San Village                   Sha Jing Town                   Bao An District    Shenzhen City    PRC         China
                             Total Quality Logistics                                   P.O. Box 634558                                                                                                             Cincinnati         OH              45263-4558
                             Touch Communication Ltd.                                  #18-6111 No.1 Road                                                                                                          Richmond           BC              V7C 1T4      Canada
                             Trac-World                                                6565 Boul. Hebert Sainte-Catherine                                                                                                             Quebec           J5C 1B5     Canada
                             TSL Terminals, Ltd.                                       10001 S. 152nd St.                                                                                                          Omaha              NE              68138
                             Uline (USA)                                               Attn: Accounts Receivable                                 2200 S. Lakeside Drive                                            Waukegan          IL               60085
                             Uline Canada Corporation                                  Box 3500 RPO Streetsville                                                                                                   Mississauga        ON              L5M 0S8      Canada
                             Uniglobe Specialty Travel Ltd.                            820-1111 Melville Street                                                                                                    Vancouver          BC              V6E 3V6      Canada
                             Urban Impact                                              15360 Knox Way                                                                                                              Richmond           BC              V6V 3A6      Canada
                             Vaccaro Trucking Inc.                                     10554 S. Muskegon Ave.                                                                                                      Chicago            IL              60617
                             Vancouver Glass (1990) Ltd.                               1706 Hastings St. E.                                                                                                        Vancouver          BC              V5L 1S9      Canada
                             Vanfire and Radius Security                               22131 Fraserwood Way                                                                                                        Richmond           BC              V6W 1J5      Canada
                             Vastari Group Ltd                                         Unit 2 12-18 Hoxton Street                                                                                                  London                             N1 6NG       United Kingdom
                             Visual Magnetics Limited Partnership.                     1 Emerdson Street                                                                                                           Mendon            MA               01756
                             VTech Technologies Canada Ltd.                            12111 Jacobson Way                                                                                                          Richmond          BC               V6W 1L5      Canada
                             Waste Management Inc. of Florida                          P.O. Box 105453                                                                                                             Atlanta           GA               30348-5453
                             Wesco Industries Ltd.                                     Unit 1                                                    9663-199A Street                                                  Langley           BC               V1M 2X7      Canada
                             Western Management Consultants                            2000-1188 West Georgia Street                                                                                               Vancouver         BC               V6E 4A2      Canada
                             WittyCookie                                               422 Richards St #170                                                                                                        Vancouver         BC               V6B 2Z4      Canada
                             World Chinese Weekly Publishing                           1555 22nd St. West Vancouver                                                                                                                  BC               V7V 4E1      Canada
                             X.O. Tours Canada Ltd                                     1123-8328 Capstan Way                                                                                                       Richmond          BC               V6X 4B6      Canada
                             Xing Xing Digital Entertainment Corp.                     14 JiuXianQiao Road                                       4th Floor                         A-2-2 ZhaoWei Industrial Park   ChaoYang          Beijing          100015       China
                             Yikon Artspace Co. Ltd.                                   4211 No.3 Road                                                                                                              Richmond          BC               V6X 2C3      Canada
                             Zigong Gengu Longteng Science & Tech. Co.                 No. 10-4 TaiFeng Building                                 68 HuiDong Rd.                    ZiLiuJing District              Sichuan                                         China
                             City of Richmond                                          City Hall 6911                                            No. 3 Road                                                        Richmond          BC               V6Y 2C1      Canada
                             Minister of Finance                                       P.O. Box 9482                                             Stn Prov Govt                                                     Victoria          BC               V8W 9E6      Canada
                             Work Safe BC                                              P.O. Box 9600                                             Stn Terminal                                                      Vancouver         BC               V6B 5J5      Canada
                             Overland Container Transportation                         7022-51 Avenue                                                                                                              Edmonton          AB               T6B2P4       Canada
                             Pacific Basket Company                                    #23 - 91 Golden Drive                                                                                                       Coquitlam         BC               V3K6R2       Canada
                             Receiver General                                          Tax Centre, P.O. BOX 10000                                Stn Terminal                                                      Vancouver         BC               V6B6M8       Canada



                             The Road Crew (Oscar Martinez)                            16605 Hunting Valley St.                                                                                                    San Antonio       TX               78247
Zack               Jacobs                                                              5607 Sequoia Drive                                                                                                          Forest Park       GA               30297
                             A-1 Storage and Crane Service Inc.                        2482 197th Ave                                                                                                              Manchester        IA               52057
                             A.N. Deringer, Inc                                        P.O. Box 11349                                                                              Succursale Centre-Ville         Montreal          QC               H3C 5H1
                             ATS, INC.                                                 P.O. Box 9993, Long Beach                                                                                                   Long Beach        CA               90810
                             Avenger Logistics, LLC                                    P.O. Box 16638 Chattanooga                                                                                                  Chattanooga       TN               37416
                             Carr, Riggs & Ingram, LLC                                 5909 Peachtree Dunwoody Road                              Suite 800                                                         Atlanta           GA               30328
                             CT Corporation                                            P.O. Box 4349                                                                                                               Carol Stream      IL               60197-4349
                             Davis Wright Tremaine LLP                                 1201 Third Ave.                                           Suite 2200                                                        Seattle           WA               98101-3045
                             Environmental Management Specialists, Inc                 4601 Homer Ohio Lane                                                                                                        Groveport         OH               45263
                             FedEx Freight                                             P.O. Box 223125                                                                                                             Pittsburgh        PA               15251-2125
                             Florida Container Depot                                   1039 50th Street South                                                                                                      Tampa             FL               33619
George Young       Mammoet                                                             509 Heron Drive                                                                                                             Swedesboro        NJ               08085
Guizhi             Wang                                                                7999 Jasmine Trail                                                                                                          Cincinnati        OH               45241-1194
                             Gulf Intermodal Services LLC                              101 Strang Road                                                                                                             La Porte          TX               77571
                             Interdom LLC                                              35041 Eagle Way                                                                                                             Chicago           IL               60678-1350
                             Law Office of Terry T. Preshaw, PS                        2727 Oakes Ave                                            Suite 200                                                         Everett           WA               98201
                             Lida Xing                                                 #1002 Unit 2                                              No.2 Building                     Yangguanghuayuan                101 Majiapu       Beijing City     100068       China
                             McAllen Foreign Trade Zone                                6401 South 33RD St                                                                                                          McAllen           TX               78503
                             Sweetwater Sound Inc.                                     5501 US 30 West                                                                                                             Fort Wayne        IN               46818
                             The Eagle Leasing Company                                 1 Irving Eagle Place                                      P.O. Box 923                                                      Orange            CT               06477
                             ULINE                                                     Attn: Accounts Receivable                                 P.O. Box 88741                                                    Chicago           IL               60680-1741
                             Office of the U.S. Trustee                                Office of the U.S. Trustee                                                   SEE ABOVE
                                                                                   Case 3:16-bk-02230-PMG                         Doc 1204     Filed 09/19/18           Page 14 of 16

                                       Comptroller of Public Accounts                      P.O. Box 149348 Austin                                                                                                       Austin                 TX   78714-9348
                                       Franchise Tax Board                                  P.O. Box 942857                                                                                                             Sacramento             CA   94257-0531
                                       Hawaii Department of Taxation                       P.O. Box 1530                                                                                                                Honolulu               HI   96860-1530
                                       Illinois Department of Revenue                      P.O. Box 19045                                                                                                               Springfield            IL   62794-9045
                                       Internal Revenue Service Centre                     P.O. Box 409101                                                                                                              Ogden                  UT   84409
                                       Minnesota Revenue                                   Mail Station 1765                                                                                                            St. Paul               MN   55145-1260
                                       Missouri Department of Revenue                      P. O. Box 3020                                                                                                               Jefferson City         MO   65105-3020
                                       Nebraska Department of Revenue                      P.O. Box 94818                                                                                                               Lincoln                NE   68509-4818
                                       North Carolina Department of Revenue                P.O. Box 25000                                                                                                               Raleigh                NC   27640-0500
                                       Ohio Department of Taxation                         Commercial Activity Tax                                      P.O Box 16678                                                   Columbus               OH   43216-6678
                                       Ohio Treasurer of State                             State of Ohio, Office of the Attorney Gen.                   P.O. Box 89471                                                  Cleveland              OH   44144-6471
                                       Oklahoma Tax Commssion                              Office of the General Counsel, Bankruptcy Section            120 N. Robinson                  Suite 2000W                    Oklahoma City          OK   73126
                                       Oklahoma Tax Commssion                              Income Tax                                                   P. O. Box 26800                                                 Oklahoma City          OK   73126-0800
                                       Oregon Department of Revenue                        P.O. Box 14780 Salem                                                                                                         Salem                  OR   97309-0469
                                       PA Department of Revenue                             P.O. Box 280422                                                                                                             Harrisburg             PA   17128-0422
                                       State of Hawaii-Department of Taxation              Oahu District Office                                         Attn: Taxpayer Services Branch   P.O. Box 259                   Honolulu               HI   96809-0259
                                       Michigan Department of Treasury                     Tax Policy Division, ATTN: Litigation Liaison                2nd Floor, Austin building       430 West Allegan Street        Lansing                MI   48922
                                       State of Michigan                                   Michigan Department of Treasury                              P.O. Box 30774                                                  Lansing                MI   48909-8274
                                       State of North Carolina                             Department of the Secretary of State                         P.O. Box 29622                                                  Raleigh                NC   27626-0622
                                       Texas Comptroller of Public Accounts                                                                             P.O. Box 149348                                                 Austin                 TX   78714-9359
                                       Ohio Department of Taxation                                                                                      P.O. Box 182857                                                 Columbus               OH   43218-2857
                                       Ohio Department of Taxation                                                                                      P.O. Box 27                                                     Columbus               OH   43216-0027
                                       Treasurer, State of Iowa                            Iowa Department of Revenue                                   P.O. Box 10468                                                  Des Moines             IA   50306-0468
                                       Treasurer, State of Maine                           Maine Revenue Services                                       P.O. Box 9101                                                   Augusta                ME   04332-9101
                                       Department of Treasury                              Internal Revenue Service Center                                                                                              Ogden                  UT   84201-0045
                                       Virginia Department of Taxation                     PO Box 1500                                                                                                                  Richmond               CA   23218-1500
                                       Waste Management Inc. of Florida                    PO Box 105453                                                                                                                Atlanta                GA   30348-5453

Bryce              Ferris                                                                  102-2365 West 1st Ave                                                                                                        Vancouver              BC   V6K 1G4      Canada
                                       Illinois National Insurance Company                 300 S. Riverside                                             Plaza                            Suite 2100                     Chicago                IL   60606-6613
                                       GlassRatner Advisory & Capital Group, LLC           ATTN: Ronald L. Glass                                        3445 Peachtree Road NE           Suite 1225                     Atlanta                GA   30326-3241
                                       Avenger Logistics, LLC                              P.O. Box 16638                                                                                                               Chattanooga            TN   37416
                                       Avenger Logistics, LLC                              5959 Shallowford Road                                        #225                                                            Chattanooga            TN   37416
                                       BDO Canada LLP                                      925 W Georgia Street                                         #600                                                            Vancouver              BC   V6C 3L2      Canada
                                       Image Quest WorldWide, Inc.                         C/o Scott W. Cichon, Esq.                                    Cobb Cole                        P.O. Box 2491                  Daytona Beach          FL   32115-2491
                                       Image Quest WorldWide, Inc.                         C/o Scott W. Cichon, Esq.                                    Cobb Cole                        149 S. Ridgewood Ave #700      Daytona Beach          FL   32114
                                       IESI – NY-Corporation                               PO Box 660654                                                                                                                Dallas                 TX   75266-0654
                                       COFO Concertburo Oliver                             Forster Gmbh & Co. KG                                        Dr.-Emil-Brichta-Str. 9                                         94036 Passau                             Germany
                                       Andornot Consulting                                 1700-808 Nelson Street                                                                                                       Vancouver              BC   V6Z 2H3      Canada
                                       Savant                                              130 Prominence Point                                         Suite 130                                                       Canton                 GA   30114
                                       Savant                                              131 Prominence Point                                         Suite 121                                                       Canton                 GA   30115

 Antonio           Abrantes Da Silva                                                                                                                                                     6362 Curtis Street               Burnaby              BC   V5B 2A5      Canada
 John M.           Allan                                                                                                                                                                 #202 - 1855 W. 8th Ave           Vancouver            BC   V6J 1V9      Canada
 Sarah-Lynne       Allinger                                                                                                                                                              8516 Terrace Drive               Delta                BC   V4C 3Z2      Canada
 Daoping           Bao                                                                                                                                                                   5790 126A Street                 Surrey               BC   V3X 3H6      Canada
 Adam J.           Bavis                                                                                                                                                                 39 W 22nd Ave                    Vancouver            BC   V5Y 2E9      Canada
 Michael A.        Bernard                                                                                                                                                               2462 Highway 3A                  Nelson               BC   V1L 6K7      Canada
 Douglas W.        Butler                                                                                                                                                                1182 Walalee Drive               DELTA                BC   V4M 2M1      Canada
 Shichang          Chen                                                                                                                                                                  568 Orkney Court                 Coquitlam            BC   V3J 6P7      Canada
 Shreenath         Comar                                                                                                                                                                 8400 Anderson Road               Richmond             BC   V6Y 1S6      Canada
 Ming              Cong                                                                                                                                                                  9340 Arrowsmith Dr               Richmond             BC   V7A 5A4      Canada
 Ying (Fiona)      He                                                                                                                                                                    3088 Gardner Ct                  Coquitlam            BC   V3E 2S6      Canada
 Robert            Hicks                                                                                                                                                                 902-1416 Harwood St.             Vancouver            BC   V6G1X5       Canada
 Jun               Hui                                                                                                                                                                   1405 200 Newport Drive           Port Moody           BC   V3H 5B7      Canada
 Liese             Jim                                                                                                                                                                   120-8180 Jones Road              Richmond             BC   V6Y 3Z6      Canada
 Jeetinder Danny   Lidder                                                                                                                                                                311 Hickey Drive                 Coquitlam            BC   V3K 5T3      Canada
 Mingming          Ma                                                                                                                                                                    708-7088, 18th Ave               Burnaby              BC   V3N0A2       Canada
 Graham            Mallon                                                                                                                                                                1601 East 57th Ave               Vancouver            BC   V5P 2B3      Canada
 Wai Man           Poon                                                                                                                                                                  Unit 57, 8701 16th Avenue        Burnaby              BC   V3N 5B5      Canada
 Ehsan             Soroudi                                                                                                                                                               11461 236 Street Unit 32         Maple Ridge          BC   V2W 0H6      Canada
 Neil J.           Tamboline                                                                                                                                                             204 1040 4th Avenue              New Westminster BC   BC   V3M 1T4      Canada
 James J.          Wan Min Kee                                                                                                                                                           9271 Dolphin Ave                 Richmond             BC   V6Y 1C7      Canada
 Kewei             Wang                                                                                                                                                                  38-3075 Skeena Street            Port Coquitlam       BC   V3B 7T4      Canada
 Teresa            White                                                                                                                                                                 Suite 309, 933 Seymour St        Vancouver            BC   V6B 6L6      Canada
 Pei-Yu            Yu                                                                                                                                                                    587 Midvale Street               Coquitlam            BC   V3J 6L7      Canada
 Lisha             Zhang                                                                                                                                                                 1601-9188 Cook Road              Richmond             BC   V6Y 4M1      Canada
 Yang              Yang                                                                                                                                                                  21044 78A Ave                    Langley              BC   V2Y0M7       Canada
 Rita              Conte                                                                                                                                                                 609-650 Seylynn Crescent         North Vancouver      BC   V7J 0B2      Canada
 Darryl            Davis                                                                                                                                                                 1180 Renton Place                West Vancouver       BC   V7S 2K7      Canada
 Steven C.         Froese                                                                                                                                                                3453 Franklin St.                Vancouver            BC   V5K1Y4       Canada
 Gregory A.        Holmes                                                                                                                                                                4293 Eton Street                 Burnaby              BC   V5C 1K2      Canada
Martha             Montes                                                                                                                                                                5452 meadow saffron ct           north las vegas      NV   89031
James              Johnson                                                                                                                                                               104 Volusia Dr                   Winter Haven         FL   33884
Holland            Hayes                                                                                                                                                                 12158 Windermere Crossing Circle Winter Garden        FL   34787
Amanda             Scheirer                                                                                                                                                              6101 Waterside Island Lane       Winter Garden        FL   34787
Sarah              Marshall                                                                                                                                                              11524 Cira Circle                Windermere           FL   34786
Shawnee            Thomas                                                                                                                                                                156 Lauren Lane                  Tiger                GA   30576
Georgeann          Gratton                                                                                                                                                               611 13th Street                  Tell City            IN   47586
Natalie            Goggins                                                                                                                                                               1392 woodland forest lane        Stone Mountain       GA   30083
Paul               Nargeolet                                                                                                                                                             104 Spooner Hill Rd              South Kent           CT   06785
Stephanie          Baur                                                                                                                                                                  6755 Old Melbourne Hwy           Saint Cloud          FL   34771
Michael            Mullen                                                                                                                                                                91 10th Street                   Saint Cloud          FL   34769
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Jessica      Sanders                                                                                 9115 Martin Rd.                   Roswell           GA   30076
David        Kearns                                                                                  668 Dunbarton Circle              Palm Bay          FL   32905
Virginia     Kellett                                                                                 1090 Quartzite Ave.               Pahrump           NV   89048
Blake        Aburn                                                                                   204 E. Kaley St                   Orlando           FL   32806
La Sonja     Austin                                                                                  4444 S. Rio Grande Ave Apt 830 Orlando              FL   32839
Michael      Carr                                                                                    2212 N Westmoreland Dr            Orlando           FL   32804
Herminia     Figuera-Jimenez                                                                         5989 Bent Pine Dr                 Orlando           FL   32822
Kayla        Fischl                                                                                  8373 Narcoossee Rd                Orlando           FL   32827
Michael      Howell                                                                                  4110 Alverado St.                 Orlando           FL   32812
Morgan       Howland-Cook                                                                            825 N. Primrose Dr. # 207         Orlando           FL   32803
Robert       Iberg                                                                                   3829 Millenia Blvd                Orlando           FL   32839
Jerry        Jobe, Jr                                                                                4600 Cason Cove Dr                Orlando           FL   32811
Cynthia      Kyle                                                                                    PO Box 616971                     Orlando           FL   32861
Donald       Lamkin                                                                                  5942 Donnelly Circle              Orlando           FL   32821
Zakeria      Lewis                                                                                   1924 Lake Heritage Circle Apt 523 Orlando           FL   32839
Sophia       Louis                                                                                   4525 Canna Dr                     Orlando           FL   32839
Olivia       Lumpkin-Lippford                                                                        12612 Sawgrass Plantation Blvd Orlando              FL   32824-4830
Kayla        Lusk                                                                                    12215 King's Knight way 17-107-C Orlando            FL   32817
Ryan         Lynch                                                                                   7798 Murcott Cir                  Orlando           FL   32835
Mark         Miller                                                                                  11469 Orange St                   Orlando           FL   32836
Cole         Miller                                                                                  11469 Orange St.                  Orlando           FL   32836
Gregory      Mills                                                                                   14540 Global Circle               Orlando           FL   32821
Samantha     Milner                                                                                  201 N Normandale Ave              Orlando           FL   32835
Brittany     Ossorio                                                                                 6754 Sparrowbush Hill             Orlando           FL   32810
Abkeisha     Reed                                                                                    722 Citrus Street                 Orlando           FL   32805
Yo-Lein      Rivera                                                                                  5234 Millenia Blvd apt 303        Orlando           FL   32839
Jacqueline   Schmidt                                                                                 4052 Promenade Square Dr, Apt. 3221
                                                                                                                                       Orlando           FL   32837
Julianne     Snyder                                                                                  618 W Princeton Street            Orlando           FL   32804
Jessica      Tessene                                                                                 5006 Adanson St                   Orlando           FL   32804
Yohanes      Tewolde                                                                                 7726 Perugia Ave                  Orlando           FL   32819
Katie        Thayer                                                                                  5472 Fitness Cir. Apt. 103        Orlando           FL   32839
Linda        Valente                                                                                 3704 Pelican Lane                 Orlando           FL   32803
Maria        Wheeler                                                                                 4916 E Michigan st                Orlando           FL   32812
Karen        Shriner                                                                                 5018 Water Wheel Ct               Ocoee             FL   34761
Frank        Siano                                                                                   2640 Cedar Bluff Ln.              Ocoee             FL   34761
Anna         Watterson                                                                               200 Maguire Park St               Ocoee             FL   34761
Melony       Rabun                                                                                   645 Walt Sanders Road             Newnan            GA   30265
Michael      Pritchett                                                                               108 Whippoorwill Road             Monticello        GA   31064
Laura        Pasch                                                                                   1996 Hastings Street              Marietta          GA   30069
Alexandra    Klingelhofer                                                                            1146 Appleton Avenue              Macon             GA   31201
Alia         Snyder                                                                                  2140 Waseca Ln                    Leesburg          FL   34748
Vannapha     Sisavanh                                                                                1904 Whitehawk Ct                 Lawrenceville     GA   30043
Bianca       Becerra-Luna                                                                            3358 Mallard Nest St.             Las Vegas         NV   89117
Robert       Bingaman                                                                                3704 Vanishing Point St           Las Vegas         NV   89129
Diane        Brown                                                                                   1400 S Valley View Blvd., Apt 2080Las Vegas         NV   89102
Justin       Brownlee                                                                                3311 Heavenly View Court          Las Vegas         NV   89117
Jorge        Cerros                                                                                  517 Harvard St                    Las Vegas         NV   89107
Stephan      Degen                                                                                   9686 Kirkland Ranch Court         Las Vegas         NV   89139
Roowegie     Del Rosario                                                                             7572 Bear River Ct.               Las Vegas         NV   89139
Jennifer     DiFulvio                                                                                3106 Spokane Dr Las Vegas         Las Vegas         NV   89121
Patrick      Dodd                                                                                    5968 Maidenhead Dr                Las Vegas         NV   89139
Ernest       Fuentes                                                                                 3750 East Bonnanza Road #99       Las Vegas         NV   89110
Margarita    Gallegos                                                                                5055 Lindell Rd                   Las Vegas         NV   89118
Javier       Guerrero                                                                                6301 Blossomwood Ave              Las Vegas         NV   89108
Pedro        Hart                                                                                    4200 Paradise Road                Las Vegas         NV   89169
Teagen       Hobbs                                                                                   4650 W Oakey Blvd                 Las Vegas         NV   89102
McKenna      Knipple                                                                                 2410 Old Forge Ln                 Las Vegas         NV   89121
Kassandra    Monedero                                                                                5055 Jeffreys ST                  Las Vegas         NV   89119
Kristina     Odom                                                                                    2219 N Rancho Dr.                 Las Vegas         NV   89130
Yahaira      Ortiz                                                                                   2004 Griffith Ave.                Las Vegas         NV   89104
Jeivi        Quilantang                                                                              4555 Karen Ave                    Las Vegas         NV   89121
Allan        Romo                                                                                    2248 Blackberry Valley Way        Las Vegas         NV   89142
Catherine    Samuelson                                                                               7861 Locke Haven Dr.              Las Vegas         NV   89123
Polina       Sheehan                                                                                 538 Swiss Cottage Ave             Las Vegas         NV   89178
David        Silva                                                                                   8844 Rainbow Ridge Dr.            Las Vegas         NV   89117-5815
Michaela     Stanton                                                                                 3066 Tarpon Drive                 Las Vegas         NV   89120
Karim        Tulloch                                                                                 4855 Boulder Highway              Las Vegas         NV   89121
William      Vizcarra Castro                                                                         6650 w warm springs rd unit 2055 Las Vegas          NV   89118
Haane        Winston                                                                                 3380 brussels st unit 1           Las Vegas         NV   89169
Brooke       Pratt                                                                                   2481 Temple Grove Lane            Kissimmee         FL   34741
Kirsty       Rimmer                                                                                  591 water street                  Kissimmee         FL   34747
Arthur       Rosenberg                                                                               7832 Turkey Oak Lane              Kissimmee         FL   34747
Ying         Li                                                                                      6255 Song Breeze Trace            Johns Creek       GA   30097
Maritza      Brinson                                                                                 1872 Avacado Ct                   Henderson         NV   89014
Lawrence     Figueroa                                                                                5880 Boulder Falls St             Henderson         NV   89011
Sherry       Li                                                                                      951 Las Palmas Entrada Avenue Henderson             NV   89012
Juanneal     Rivera                                                                                  1290 W. Horizon Ridge Pkwy        Henderson         NV   89012
Emily        Robinson                                                                                1601 S Boulder Highway, #6206 Henderson             NV   89015
Mellissa     Rotino                                                                                  2101 W Warm Springs Rd            Henderson         NV   89014
Jean         Palmer                                                                                  P O Box 121                       Gotha             FL   34734
Jerome       Henshall                                                                                2015 SE 10th Avenue               Fort Lauderdale   FL   33316
Demesha      Foster                                                                                  8166 Cherokee Blvd                Douglasville      GA   30134
Jeffrey      Taylor                                                                                  2193 Azalea Circle                Decatur           GA   30033
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Amber         Geary                                                                              212 Whispering Pines Way       Davenport           FL   33837
Laura         Swindoll                                                                           660 Sandy Ridge Drive          Davenport           FL   33896
Allison       Ritter                                                                             2717 High Creek Run            Dacula              GA   30019
Karl          Ockstadt                                                                           1223 Whitewod Way              Clermont            FL   34714
Christopher   Voeller                                                                            11736 Chapelle Ct              Clermont            FL   34711
Afshin        Shirinzadeh                                                                        4386 Stonecrest Dr             Austell             GA   30106
Daria         Crawford                                                                           675 Ponce De Leon Ave NE Apt 737
                                                                                                                                Atlanta             GA   30308
Philip        Crochen                                                                            390 17th Street NW             Atlanta             GA   30363
Adam          Englin                                                                             2124 Cheshire Bridge Rd., NE   Atlanta             GA   30324
Semario       Griffin                                                                            Po Box 77874                   Atlanta             GA   30357
Raymond       Harris                                                                             1504 Belmont Avenue SW         Atlanta             GA   30310
George        Ilodi                                                                              746 Garden Walk Blvd           Atlanta             GA   30349
Joshua        Metcalf                                                                            1504 Belmont Ave SW            Atlanta             GA   30310
Katherine     Seymour                                                                            585 Loridans Drive             Atlanta             GA   30342
Derek         Urquhart                                                                           5660 Wisbech Way               Atlanta             GA   30349
Calvin        Willis                                                                             1604 Belmont Avenue            Atlanta             GA   30310
Barry         Womack                                                                             2420 Laurel Circle             Atlanta             GA   30311
Grace         Mazzaro                                                                            1087 Welch Hill Circle         Apopka              FL   32712
Michelle      Brightman                                                                          805 Gregory Lane               Altamonte Springs   FL   32701
Robyn         Harbison                                                                           325 Forestway Circle, Unit 205 Altamonte Springs   FL   32701
Ozgur         Ar                                                                                 12988 Dartmore Circle          Alpharetta          GA   30005
